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   1                        UNITED STATES DISTRICT COURT

   2                      SOUTHERN DISTRICT OF CALIFORNIA

   3

   4    RAMON EUGENIO SANCHEZ RITCHIE, )
                                       )
   5                    PLAINTIFF,     )
                                       )
   6           VS.                     )      CASE NO. 10CV1513-CAB
                                       )
   7    SEMPRA ENERGY, A CALIFORNIA    )      SAN DIEGO, CALIFORNIA
        CORPORATION,                   )
   8                                   )      MARCH 16, 2012
                         DEFENDANT.    )
   9

  10                  REPORTER'S TRANSCRIPT OF PROCEEDINGS
                                 MOTION HEARING
  11                BEFORE THE HONORABLE CATHY ANN BENCIVENGO
                       UNITED STATES DISTRICT COURT JUDGE
  12

  13    A P P E A R A N C E S:

  14    FOR THE PLAINTIFF:

  15          KIRK B. HULETT
              DEREK EMGE
  16          HULETT HARPER STWEART LLP
              525 "B" STREET, SUITE 760
  17          SAN DIEGO, CALIFORNIA 92101

  18    FOR THE DEFENDANT:

  19          MARK C. ZEBROWSKI
              MORRISON & FOERSTER LLP
  20          12531 HIGH BLUFF DRIVE, SUITE 100
              SAN DIEGO, CALIFORNIA 92130
  21
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   1         SAN DIEGO, CALIFORNIA; FRIDAY, MARCH 16, 2012; 2:30P.M.

   2              THE CLERK:    YOUR HONOR, WE ARE BACK ON THE RECORD AS

   3    TO MATTER NO. 4 ON OUR CALENDAR, 10CV1513-CAB-WVG, RITCHIE

   4    VERSUS SEMPRA ENERGY.     WE ARE ON CALENDAR FOR A MOTION HEARING.

   5              AND IF I COULD HAVE COUNSEL PLEASE STATE THEIR

   6    APPEARANCES, BEGINNING WITH PLAINTIFF'S COUNSEL.

   7              MR. HULETT:    GOOD AFTERNOON, YOUR HONOR.      KIRK HULETT

   8    FOR MR. RITCHIE.    I ALSO WITH MY TODAY IS MY COLLEAGUE DEREK

   9    EMGE.

  10              THE COURT:    THANK YOU, MR. HULETT.

  11              MR. ZEBROWSKI:    MARK ZEBROWSKI FOR SEMPRA ENERGY.

  12              THE COURT:    THANK YOU, MR. ZEBROWSKI.     AS A

  13    PRELIMINARY MATTER, AMONGST THE MANY CASES WE HAVE GOT, WE HAVE

  14    BEEN TRYING VERY HARD TO GET OUR ARMS AROUND AND KIND OF CAME

  15    IN THE MIDDLE OF A BUNCH OF STUFF, AND SO WE HAVE REVIEWED MUCH

  16    OF THE DOCKET IN TERMS OF THE PRIOR MOTIONS, THE PRIOR

  17    COMPLAINTS, THE MOTIONS TO DISMISS, THE ORDERS BY THE COURT,

  18    THE ORDERS THAT JUDGE SAMMARTINO ISSUED.

  19              THIS WAS ORIGINALLY SCHEDULED ON A DEFENDANT'S MOTION

  20    REGARDING RULE 11 SANCTIONS, BUT IN LOOKING AT THAT, WHICH

  21    CAUSED US TO LOOK AT THE COMPLAINT, WE DECIDED TO PUT

  22    EVERYTHING ON FOR, AT LEAST, ARGUMENT TODAY TO TRY TO SEE IF

  23    ANYTHING SORT OF ECLIPSED OTHER THINGS.

  24              I WILL START, HOWEVER, WITH THE MOTION REGARDING

  25    SANCTIONS AND ASK MR. ZEBROWSKI ON BEHALF OF THE DEFENDANTS,
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   1    AND PERHAPS YOU CAN GIVE ME SOME -- MAYBE I'M MISSING

   2    SOMETHING, BUT I'M KIND OF MISSING THE SIGNIFICANCE OF WHY THIS

   3    PARTICULAR FACTUAL ELEMENT REGARDING THE SETBACK AND THE

   4    ALLEGATIONS THAT AT LEAST IN 2001, THERE WAS A REQUIREMENT FOR

   5    SEMPRA WITH THIS PROPERTY TO HAVE -- THE POTENTIAL TO HAVE THE

   6    PLAINTIFF'S PROPERTY, BECAUSE IT FELL WITHIN THE SETBACK

   7    PROVISIONS, AND BY THE END OF JUNE 2005, THAT SETBACK PROVISION

   8    OR REQUIREMENT MAY HAVE BEEN LEGALLY REMOVED.        BUT IN THE

   9    CONTEXT OF THE COMPLAINT, THERE SEEMS TO AT LEAST HAVE BEEN

  10    SOME HISTORICAL BASIS TO ARGUE IT WAS NEEDED AT ONE TIME.          AM I

  11    MISSING SOMETHING THERE?

  12              MR. ZEBROWSKI:    NO, I THINK THAT'S CORRECT, YOUR

  13    HONOR.   BUT WHEN WE FAST-FORWARD TO THE RELEVANT TIME PERIOD

  14    WHEN THINGS ACTUALLY HAPPENED HERE, SO THERE'S THIS IDEA OF

  15    BUILDING THIS ENERGY FACILITY, THERE IS A SETBACK REQUIREMENT

  16    THAT MAY REQUIRE ACQUIRING OTHER PARCELS AROUND THERE.         BY JUNE

  17    OF 2005, THAT SETBACK REQUIREMENT IS ELIMINATED, AND IT'S NOT

  18    UNTIL JANUARY OF 2006 THAT SEMPRA ENERGY ALLEGEDLY THEN ENTERS

  19    INTO A SHAM PURCHASE AGREEMENT AND PRESENTS IT TO THE MEXICAN

  20    GOVERNMENT AND DOES ALL THESE OTHER THINGS ALLEGEDLY BECAUSE IT

  21    MUST HAVE THESE THIS PROPERTY TO SATISFY THE SETBACK

  22    REQUIREMENT.

  23              SO BY THE TIME SEMPRA DID ANYTHING RELEVANT TO THE

  24    LAYOUT, THE SETBACK WAS NO LONGER THERE, YET IT IS THE LYNCHPIN

  25    ALLEGATION IN THE LAWSUIT, GEE, OF COURSE, YOU GUYS DID ALL
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   1    THESE THINGS TO ME AND YOU STOLE MY PROPERTY AND HAD ME

   2    ARRESTED AND ALL THESE OTHER THINGS BECAUSE YOU HAD TO HAVE MY

   3    PROPERTY IN ORDER TO LEGALLY OPERATE YOUR PLANT.         AND IT'S JUST

   4    NOT TRUE.

   5              AND WE'LL BE IN HERE -- I THINK IT ALSO STARTS TO TIE

   6    INTO WHEN I READ THE RULE 11 OPPOSITION AND THE ACT OF STATE

   7    DOCTRINE, WHICH IS PART OF OUR MOTION TO DISMISS, WHAT'S GOING

   8    ON IN MEXICO, AND ARE WE GOING TO SIT IN THIS COURT AND ARGUE

   9    ABOUT WHAT'S GOING ON IN MEXICO, AND WORSE THAN THAT, ARE WE

  10    GOING TO SIT IN THIS COURT WITH ALLEGATIONS THAT ARE CONTRARY

  11    TO WHAT'S GOING ON IN MEXICO.

  12              THE COURT:    THAT'S A BIGGER ISSUE, AND THAT'S THE

  13    MOTION TO DISMISS THAT THE COURT WANTS TO ADDRESS BECAUSE WE

  14    HAVE SERIOUS CONCERNS ABOUT WHETHER THERE WOULD BE POTENTIALLY

  15    FINDINGS IN THIS COURT THAT COULD BE CONTRARY TO FINDINGS TO

  16    MEXICO IF THE ENTIRE QUESTION OF OWNERSHIP AND POSSESSION AND

  17    TRESPASS IS STILL IN ONGOING LITIGATION THERE.

  18              BUT I GOT THE SENSE, PERHAPS, AND MAYBE IT'S BECAUSE

  19    YOU'VE BEEN LITIGATING THIS FOR SO LONG, YOU OVERREAD THE

  20    COMPLAINT IN A WAY THAT THE COURT ON ITS FACE REALLY DIDN'T

  21    READ IT AND APPRECIATE IT.      BECAUSE IN PARAGRAPH 20, WHICH IS

  22    THE ONLY PLACE WHERE THERE IS A SPECIFIC REFERENCE TO THE

  23    SETBACK REQUIREMENTS, THE PLAINTIFF IS TALKING ABOUT A TIME

  24    PERIOD SPECIFIC TO 2001 WHEN HE ALLEGES THAT ON BEHALF OF

  25    SEMPRA SOMEONE CAME TO SEE HIM TO NEGOTIATE PURCHASE OF THE
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   1    PROPERTY.   AND THEN THAT'S IN 20 AND 21, AND THEN IN 25 EVEN

   2    STILL TALKING ABOUT JANUARY 2005 WHERE IT WOULD BE MY

   3    UNDERSTANDING THAT ANY REFERENCE THERE TO NEED MIGHT STILL

   4    RELATE TO THE SETBACK PROVISIONS.

   5              AND IT GOES ON AND ON.     AND THEN 23, IT'S IN OR ABOUT

   6    2005, AND SO IT'S KIND OF NOT NECESSARILY AFTER JULY.         BUT AT

   7    SOME POINT, THE FACTS THAT ARE ALLEGED CERTAINLY WOULD SUPPORT

   8    A GOOD FAITH ARGUMENT, I THINK, ON BEHALF OF THE PLAINTIFF THAT

   9    THERE WAS AN ONGOING ACTIVITY ON THE PART OF SEMPRA TO GET THIS

  10    PROPERTY.   IF YOU DIDN'T NEED IT FOR THE SETBACK, YOU NEEDED IT

  11    FOR SOMETHING, BECAUSE OTHERWISE, WHY WOULD YOU HAVE GONE TO

  12    THE ALLEGED -- AND, AGAIN, THESE ARE ALLEGATIONS, EXTREMES TO

  13    REMOVE HIM FROM THE PROPERTY AND TAKE IT?

  14              MR. ZEBROWSKI:    RIGHT.   AND I THINK OF THAT ISSUE A

  15    LITTLE BIT LIKE I WOULD THINK OF THE MOTIVE FOR THE MURDER

  16    CASE, WELL, IT WAS THE INSURANCE POLICY.        WELL, MAYBE THERE WAS

  17    AN INSURANCE POLICY FOUR YEARS EARLIER, AND MAYBE IT EXPIRED

  18    TWO YEARS BEFORE THE DEATH.      WELL, THEN WHY ARE YOU CONTINUING

  19    TO CLAIM THAT I KILLED THIS PERSON FOR THE INSURANCE?         THAT'S

  20    REALLY THE WAY I WAS LOOKING AT THIS.

  21              YES, WE CAME AND TALKED TO YOU IN 2001 IN ANTICIPATION

  22    OF A SETBACK REQUIREMENT, BUT WE'RE NOT GETTING SUED FOR

  23    APPROACHING AND TALKING TO YOU IN 2001 TO TRY TO BUY YOUR

  24    PROPERTY.   WE'RE GETTING SUED FOR THINGS WE STARTED TO DO IN

  25    2006.   THAT'S WHY WE BROUGHT THE MOTION, YOUR HONOR.        WE TRIED
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   1    TO GET THAT REMOVED, AND IF WE GO INTO ANOTHER ROUND OF

   2    PLEADING, WE HOPE IT'S REMOVED THEN.       IF THE CASE COMES TO AN

   3    END HERE TODAY, OBVIOUSLY IT'S OF MUCH LESS CONCERN.

   4              THE COURT:    WELL, OKAY, THANK YOU.

   5              LET ME HEAR FROM THE PLAINTIFF ON THIS ISSUE.

   6              MR. HULETT:    WELL, I THINK YOU'VE IDENTIFIED WHAT WE

   7    TRIED TO ARTICULATE IN OUR RESPONSE IN WHICH WE PLED IN THE

   8    COMPLAINT.    SEMPRA ADMITS IN THEIR OWN DOCUMENTS, WHICH WERE

   9    SUBMITTED TO YOU IN CAMERA, THAT THEY NEED THE DOCUMENTS FOR

  10    THE LNG PLANT, AND THEY ALSO ADMIT THAT THEY NEEDED IT BEFORE

  11    THEY GOT THESE ALLEGED AMENDMENTS IN 2005.        AND AS PLED IN THE

  12    COMPLAINT, WE'RE NOT TRYING TO TRICK ANYBODY.

  13              WE PLEAD IN THE COMPLAINT THAT THAT LICENSE IS THE

  14    SUBJECT OF THE DISPUTE AS TO WHETHER IT WAS PROCURED PROPERLY

  15    OR NOT.   I MEAN, THE MEXICAN GOVERNMENT CONTINUES TO

  16    INVESTIGATE WHETHER THAT LICENSE IS VALID OR NOT VALID.         AND

  17    SEMPRA KNEW IN 2005, 2006, AND EVEN TODAY, KNOWS THAT THE

  18    VIABILITY OF THAT LICENSE AMENDMENT CONTINUES TO PUT THEM AT

  19    RISK OF BEING SHUT DOWN.

  20              THE COURT:    OKAY.   SO LET'S MOVE ON WITH THAT AS A

  21    POINT, BECAUSE THAT'S A CONCERN THAT I HAVE IF PART OF THE

  22    ALLEGATION IS THAT THE LICENSE THAT NO LONGER REQUIRES THE

  23    SETBACKS WAS FRAUDULENT OR UNLAWFULLY OR IMPROPERLY OBTAINED,

  24    ARE YOU ASKING THIS COURT TO MAKE A DETERMINATION THAT THE

  25    MEXICAN GOVERNMENT DID SOMETHING ILLEGAL WITH SEMPRA TO GET RID
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   1    OF THAT SETBACK REQUIREMENT?

   2              MR. HULETT:    NO.

   3              THE COURT:    BUT WOULDN'T THAT ESSENTIALLY BE YOUR

   4    FINDING --

   5              MR. HULETT:    NO.

   6              THE COURT:    -- THAT YOUR FINDING THAT THEIR NEED THAT

   7    THEY WERE ILLEGALLY OPERATING THE PLANT, WOULDN'T WE HAVE TO

   8    MAKE A FINDING OF THAT NATURE?

   9              MR. HULETT:    ABSOLUTELY NOT.

  10              THE COURT:    WELL, THEN HOW DO YOU GET THERE?      I MEAN,

  11    IF YOU AGREE THAT IN JULY OF 2005 THAT REQUIREMENT NO LONGER

  12    EXISTED, I'M NOT SAYING IT COULDN'T BE OTHER BUSINESS

  13    NECESSITIES THAT MIGHT HAVE INSPIRED OR ENCOURAGED OR MADE

  14    SEMPRA WANT, DESIRE, NEED, COVET, WHATEVER THE PROPERTY AT

  15    ISSUE, BUT IF THAT LEGAL NECESSITY BASED ON THE SETBACK YOU

  16    AGREE AS OF JULY 2005 DID NOT EXIST ANYMORE, THEN WE'RE NOT

  17    GOING TO DISCUSS IT ANYMORE.      THAT'S JUST GOING TO BE A FACT IN

  18    THE CASE, AND THAT'S GOING TO BE TRUE.       AND THIS COURT IS NOT

  19    GOING TO UNDO THAT.     WE'RE NOT GOING TO LOOK AT THAT --

  20              MR. HULETT:    OF COURSE NOT.

  21              THE COURT:    -- AND SAY MEXICO DID SOMETHING WRONG

  22    THERE.

  23              MR. HULETT:    OF COURSE NOT.

  24              THE COURT:    OKAY.

  25              MR. HULETT:    WE WOULD NEVER PRETEND TO SUGGEST THAT
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   1    WOULD BE APPROPRIATE FOR THIS COURT TO ENTERTAIN.

   2              THE COURT:    BUT THERE WOULDN'T BE ANY TESTIMONY ABOUT

   3    THAT, THERE WOULDN'T BE ANY EVIDENCE ABOUT IT, THERE WOULDN'T

   4    BE ANY ALLEGATIONS THAT THERE WERE SOME SORT OF BRIBES PAID OR

   5    BAD BEHAVIOR.

   6              MR. HULETT:    FOR PURPOSES OF PROCURING THAT LICENSE,

   7    THAT'S TRUE.    THIS REALLY, AS I SAID IN OUR PAPERS, SEMPRA'S

   8    NEED OR LACK OF NEED FOR THE PROPERTY IS REALLY SUPERFLUOUS TO

   9    THE CLAIMS THAT ARE BEING ASSERTED.       WE DON'T HAVE TO PROVE

  10    SPECIFIC INTENT WITH RESPECT TO THE TRESPASS.

  11              IT'S CLEAR WHY THEY DID WHAT THEY DID, BUT WE DON'T

  12    HAVE TO PROVE TO THE JURY OR TO THE TRIER OF FACT THAT SEMPRA

  13    OCCUPIED THIS LAND ILLEGALLY FOR ANY PURPOSE, FOR ANY MOTIVE.

  14    IT MIGHT GO TO THE ISSUE OF DAMAGES AS TO WHETHER THEY USED THE

  15    PROPERTY FOR PURPOSES OF OPERATING ITS FACILITY, DID THEY USE

  16    IT FOR PROFITABLE OPERATIONS AND THINGS OF THAT SORT.         THAT MAY

  17    BE RELEVANT, BUT IT HAS NOTHING TO DO WITH WHETHER IT'S A

  18    TRESPASS CLAIM OR NOT.

  19              THE COURT:    ALL RIGHT.   THE COURT WILL ISSUE AN ORDER

  20    ON THE RULE 11 SANCTIONS, BUT THEY'RE GOING TO BE DENIED.          BUT

  21    I THINK WITH REGARD TO WHETHER THERE IS AN OPPORTUNITY TO AMEND

  22    AGAIN, AND I'M NOT CERTAIN THAT'S GOING TO HAPPEN, THE

  23    PLAINTIFF WOULD BE ADVISED IN FUTURE PLEADINGS THAT IT'S CLEAR

  24    THERE IS NO ALLEGATION THAT WOULD SUGGEST ANY INTEREST ON THE

  25    PART OF SEMPRA IN OBTAINING THE LAND AFTER JULY OF 2005 WAS TO
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   1    SATISFY THOSE SETBACK PROVISIONS, UNLESS YOU THINK THERE IS A

   2    REASON HERE WHY THE COURT WOULD HAVE ANY BASIS FOR CHALLENGING

   3    THE LEGALITY OF THAT.

   4              AND AS WE'VE JUST DISCUSSED AND YOU'VE JUST

   5    ACKNOWLEDGED, THIS COURT IS NOT GOING TO BE ASKED TO CHALLENGE

   6    THE LEGALITY OF THE LICENSING THAT REMOVED THOSE SETBACK

   7    REQUIREMENT.    SO IF YOU FEEL YOU NEED TO PLEAD OR ALLEGE GOING

   8    FORWARD THAT THERE WAS A NECESSITY ON THE PART OF SEMPRA TO

   9    OBTAIN THAT LAND, IT CAN'T BE BASED ON THAT LEGAL OBLIGATION.

  10    IT HAS TO BE BASED ON SOME OTHER -- AND I DON'T KNOW THAT YOU

  11    EVEN NEED TO ALLEGE NEED, WHICH IS WHY THIS JUST SEEMS TO A

  12    TEMPEST IN THE TEAPOT.

  13              MR. HULETT:    AND THE ONLY REASON I STOOD BACK UP IS SO

  14    THERE WOULDN'T BE CONFUSION DOWN THE LINE.        I THINK THAT IT

  15    WOULD BE FAIR FOR US TO SUGGEST THAT SEMPRA CONTINUES TO

  16    PERCEIVE A NEED FOR THAT PROPERTY BECAUSE THE POTENTIAL THAT

  17    LICENSE MIGHT NOT BE ULTIMATELY SUSTAINED.        I THINK THAT IS NOT

  18    QUESTIONING WHETHER THE LICENSE IS VALID OR INVALID, BUT IT

  19    DOES SUPPORT IF SEMPRA BELIEVED, BECAUSE OF CHALLENGES OR

  20    WHATNOT, THAT TO ELIMINATE THE RISK THAT WOULD INURE TO THEIR

  21    DETRIMENT, HUGE DETRIMENT, THAT THEY WANTED THIS PROPERTY TO

  22    ELIMINATE THAT RISK, I THINK THAT WOULD BE THE FAIR THING TO

  23    PRESENT TO THE TRIER OF FACT.

  24              THE COURT:    AND THAT WOULD BE A BUSINESS STRATEGY AS

  25    OPPOSED TO A LEGAL NECESSITY.
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   1               MR. HULETT:    CORRECT.

   2               THE COURT:    YOUR ARGUMENT IS, TODAY IT'S NOT REQUIRED

   3     I HAVE THIS, BUT THAT CHANGED ONCE, AND IT COULD CHANGE AGAIN,

   4     SO IT WOULD IN OUR BUSINESS INTEREST TO LOCK THIS IN AND NOT

   5     HAVE THIS BE AN ISSUE LATER, AND YOU CAN ALLEGE THAT IN GOOD

   6     FAITH.   THEN THAT'S DIFFERENT THAN SAYING THAT IT WAS NOT A

   7     LEGALLY PERMISSIBLE CHANGE AND THAT YOU'RE CHALLENGING THE

   8     LEGALITY OF IT.

   9               MR. HULETT:    I THINK YOU HAVE READ THE COMPLAINT

  10     ACCURATELY.   WE'VE NEVER SAID THAT THE 2005 LICENSE DOESN'T

  11     EXIST.

  12               THE COURT:    ALL RIGHT.   I WANT TO MOVE ON TO THE

  13     NOTION DISMISS.    AND THERE'S A LOT GOING ON HERE.       WE'VE READ

  14     OBVIOUSLY THE REVISED SECOND AMENDED COMPLAINT THAT

  15     ADDRESSED -- THAT ATTEMPTED TO ADDRESS THE ISSUES RAISED BY

  16     JUDGE SAMMARTINO IN HER MOTION TO DISMISS, SPECIFICALLY WITH

  17     REGARD TO CALIFORNIA CIVIC CODE SECTION 47(B) AND THE

  18     LITIGATION PRIVILEGE, AND I'M LOOKING FOR INFORMATION HERE NOW

  19     TO HELP US GET TO A DECISION ON WHETHER OR NOT YOU'VE OVERCOME

  20     THE CONCERNS THAT JUDGE SAMMARTINO HAD PREVIOUSLY RAISED.          AND

  21     IT APPEARS THAT THE SIGNIFICANT CHANGE IN THE LANGUAGE OF THE

  22     COMPLAINT IS THAT YOU'RE NOW SAYING THAT THE ORDER, WHICH YOU

  23     CHARACTERIZE AS A PROVISIONAL ORDER, THAT THE DEFENDANTS

  24     OBTAINED DID NOT PROVIDE OR ALLOW THEM TO HAVE SELF-HELP TO

  25     REMOVE MR. RITCHIE FROM THE PROPERTY IN 2006.
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   1               MR. HULETT:    2006, CORRECT.

   2               THE COURT:    AND SO THAT CAN'T COME WITHIN THE

   3     PRIVILEGE BECAUSE THE ORDER DIDN'T ALLOW FOR THAT.         IS THAT A

   4     FAIR ASSESSMENT?

   5               MR. HULETT:    I DON'T THINK THAT -- I DON'T THINK THAT

   6     THAT IS FUNDAMENTALLY THE CHANGE.      I THINK THAT IS A CHANGE,

   7     BUT I THINK THE FUNDAMENTAL CHANGE IS THAT THE POINT UNDER

   8     47(B) THAT JUDGE SAMMARTINO WAS ARGUING WAS THAT THEY WERE

   9     PRIVILEGED TO PETITION THE GOVERNMENT, PETITION THE COURTS TO

  10     GET AN ORDER SECURING POSSESSION OF THE LAND.        AND THAT ORDER

  11     WAS DATED IN 2006, AND THE EXECUTION OF THAT ORDER IS PART OF

  12     THE PRIVILEGED PROCESS.     IF YOU EXECUTE A COURT ORDER, THE

  13     EXECUTION OF THAT ORDER WOULD BE CONSIDERED A PRIVILEGED

  14     COMMUNICATION OR ACT.

  15               AND I THINK WHEN WE FIRST PLED THIS CASE, THERE WERE

  16     ASSERTIONS THAT WAS WITH THE ASSISTANCE OF MEXICAN OFFICIALS,

  17     AND BECAUSE OF THAT ALLEGATION, THAT CAUSED THE JUDGE TO

  18     BELIEVE THAT IT WASN'T SELF-HELP, BUT IT WAS RATHER ACTIONS OF

  19     THE GOVERNMENT, AGAIN, ANOTHER PRIVILEGED ACTIVITY.

  20               ALLEGATIONS LATER MATERIALIZED THAT THERE WERE BRIBES

  21     PAID, AND THAT'S WHAT'S IN THE SECOND AMENDED COMPLAINT, THAT

  22     GOVERNMENT OFFICIALS WERE BRIBED TO GO TO THE PROPERTY TO OUST

  23     MY CLIENT.   AND THAT DOES TAKE IT OUT OF THE GOVERNMENT'S ACTS

  24     AS A PRIVILEGED ACT.

  25               BUT I THINK MORE FUNDAMENTALLY, MORE FUNDAMENTALLY
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   1     THAN ALL OF THAT IS, THE CHACON CASE, AND THAT CASE CAME DOWN

   2     IN 2010, HERE IN CALIFORNIA COURT OF APPEALS.        WE CITE IT IN

   3     OUR BRIEF.    AND BASICALLY THE DIFFERENCE IN THIS COMPLAINT FROM

   4     THE ORIGINAL AND FIRST AMENDED COMPLAINT IS THAT THERE WAS AN

   5     ORDER ENTERED IN MR. RITCHIE'S FAVOR, THE PLAINTIFF'S FAVOR IN

   6     OCTOBER 2007, AND THAT ORDER ELIMINATED SEMPRA'S ENTITLEMENT TO

   7     THE PRIVILEGE OF POSSESSION.

   8               SO IN 2006, THERE WAS AN ORDER THIS PROVISIONAL ORDER,

   9     WHICH I GUESS WOULD BE MORE AKIN TO AN INJUNCTION PROCEEDING IN

  10     MEXICO TELLING SEMPRA THEY WERE ENTITLED TO THE PROPERTY.          THEN

  11     WE HAD THIS SELF-HELP, AND, AGAIN, I WOULD LIKE TO MOVE PAST

  12     THAT FOR NOW.    THEN THERE WAS LITIGATION CRIMINAL LITIGATION

  13     THAT CULMINATED IN OCTOBER OF 2007 WITH THE COURT FINDING THAT

  14     MR. RITCHIE WAS NOT CRIMINALLY LIABLE AND THAT, IN FACT, SEMPRA

  15     WAS NOT THE LEGAL POSSESSOR OF THE PROPERTY AND THAT, THAT

  16     EVENT IS LIKE THE CHACON EVENT.

  17               THE CHACON EVENT WAS, THERE WAS INITIALLY AN ORDER

  18     DIRECTING THE EVICTION.     THE TENANTS WERE EVICTED PURSUANT TO

  19     THIS ORDER.    THE ORDER WAS PROVISIONAL.     THERE WAS A DATE BY

  20     WHICH THE ORDER WOULD LAPSE.      AND ACCORDINGLY, ONCE THAT

  21     TIMEFRAME WAS ELIMINATED, ESSENTIALLY THE PRIVILEGE, THE COURT

  22     PRIVILEGE WAS TERMINATED BY A SUBSEQUENT LEGAL PRINCIPLE AND

  23     LEGAL AUTHORITY, THE COURT FINDS THAT CONTINUED POSSESSION OF

  24     THE PROPERTY BY A LANDLORD WAS NO LONGER A PRIVILEGED ACT UNDER

  25     47(B).
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   1                AND THAT'S EXACTLY WHAT WE HAVE HERE.      WE HAVE A

   2     SITUATION WHERE COURTS IN MEXICO GAVE POSSESSION TO SEMPRA.          WE

   3     CONTEST THE VALIDITY OF THAT, BUT YOU DON'T HAVE TO RULE THAT.

   4     WE'RE NOT ASKING FOR ANY RULINGS THAT THAT WAS AN ERRONEOUS

   5     FINDING.    THEN IN OCTOBER OF '07, THERE WAS AN ORDER FROM THE

   6     COURT FINDING MR. RITCHIE WAS THE LEGAL POSSESSOR THAT

   7     TERMINATED SEMPRA'S ALLEGED PRIVILEGED POSSESSION OF THAT

   8     PROPERTY, AND ALL ACTIONS TAKEN THEREAFTER BY SEMPRA WOULD

   9     BECOME A TRESPASS.      I THINK THE CHACON CASE IS ON ALL FOURS.

  10                AND THAT'S, I WOULD SAY, THE FUNDAMENTAL DIFFERENCE

  11     BETWEEN THE FIRST AMENDED COMPLAINT AND THE SECOND AMENDED

  12     COMPLAINT IS THAT FUNDAMENTAL FACT, AND NOT SO MUCH THE

  13     FUNDAMENTAL FACT OF CHANGING THE ALLEGATIONS THAT THE MEXICAN

  14     OFFICIALS WHO HAD UNIFORMS ON WERE, IN FACT, PAID TO BE THERE

  15     BY SEMPRA.

  16                THE COURT:   OKAY.   AND ON YOUR ANALYSIS THEN, IF THEY

  17     HAD POSSESSION BY AN ORDER IN 2006, AND, AGAIN, WE'LL LOOK PAST

  18     THE SELF-HELP ISSUE AND THE ACTS THEY TOOK THAT JUDGE

  19     SAMMARTINO ALREADY FOUND WERE WITHIN THE SCOPE OF THAT ORDER,

  20     BUT THEN SUBSEQUENTLY THERE WAS AN ORDER SAYING, NO, ACTUALLY

  21     THE PROPERTY BELONGS TO MR. RITCHIE.       IS THAT SOMEHOW A NUNC

  22     PRO TUNC KIND OF ORDER?     DOES THAT VOID?

  23                IF WHAT THEY DID THEY DID WHILE THEY HAD POSSESSION

  24     AND IN A GOOD FAITH BELIEF THEY HAD, AT LEAST, PRIVILEGED

  25     POSSESSION, THEN WE'RE NOT GOING TO REACH BACK TO 2006 AND
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   1     CREATE LIABILITY FOR ANYTHING THAT HAPPENED BETWEEN 2006 AND

   2     2007.    ARE WE STARTING THEN AT 2007 AND SAYING ACTS THAT

   3     OCCURRED AFTER THE 2007 ORDER THAT RETURNED TO THE PROPERTY TO

   4     MR. RITCHIE, THEN THEY BECAME THE TRESPASSERS, AND ANYTHING

   5     THEY DID FROM THEN ON WOULD BE SUBJECT TO THIS ACTION?         YOU

   6     CAN'T GO BACK AND UNDO WHAT THEY DID.

   7                MR. HULETT:   CORRECT.   THE ANSWER TO YOUR QUESTION

   8     DOES GO TO BACK TO YOUR FIRST QUESTION ABOUT THE SELF-HELP

   9     ISSUE.    THAT ACTION ITSELF WOULD NOT BE A PRIVILEGED ACTION,

  10     AND THAT OCCURRED IN 2006.     WE'RE NOT GOING TO CONTEST THE

  11     PRIVILEGED NATURE OF THE 2006 ORDER OF THE COURT.         WE HAVE

  12     ALLEGED HOW WE THINK THAT WAS PROCURED.

  13                WE'VE ALLEGED ALL SORTS OF THINGS THAT JUDGE

  14     SAMMARTINO BELIEVES ARE PRIVILEGED ACTS UNDER 47(B), AND SO WE

  15     HAVE TAKEN THAT AND WE'VE TRIED TO PLEAD THAT THERE WERE ACTS

  16     TAKEN BY SEMPRA, EVEN IN RELIANCE UPON THAT ORDER, THAT WERE

  17     OUTSIDE THE PROPER EXECUTION AND PRIVILEGED EXECUTION OF THAT

  18     ORDER.

  19                AND THEN NOT ONLY THAT, BUT ALSO THAT IN OCTOBER OF

  20     2007, EVEN THEIR ARGUMENT ABOUT BEING ENTITLED TO POSSESSION BY

  21     PRIVILEGED PROCESS, THEY LOST THAT PRIVILEGE ONCE THE COURT

  22     ORDERED POSSESSION DELIVERED TO MR. RITCHIE.        AND THEN FOR

  23     THREE YEARS THEREAFTER, SEMPRA REFUSED TO GIVE POSSESSION TO

  24     MR. RITCHIE.    AND AT EVERY STEP OF THE WAY FROM 2007 UNTIL 2010

  25     WHEN SEMPRA WAS FORCIBLY EVICTED BY PUBLIC OFFICIALS BECAUSE OF
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   1     THEIR REFUSAL TO GIVE BACK THE PROPERTY VOLUNTARILY DURING THAT

   2     ENTIRE PERIOD OF TIME, SEMPRA WAS IN POSSESSION DESPITE COURT

   3     ORDERS TELLING THEM THAT THEY WERE NOT THE PROPER POSSESSOR OF

   4     THE PROPERTY.

   5                AND THAT, I THINK, IS EXACTLY WHAT CHACON SAYS IS

   6     UNPRIVILEGED ACTIONS NOT ENTITLED TO PRIVILEGE OF 47(B).

   7                THE COURT:    AND WHY IS IT APPROPRIATE FOR THIS COURT

   8     TO MAKE FINDINGS REGARDING THEIR ALLEGED TRESPASS FROM 2007 TO

   9     2010 ON PROPERTY LOCATED IN MEXICO AND OWNED BY A MEXICAN

  10     CITIZEN?    WHY SHOULD THAT BE HERE?     WHY IS THAT NOT BEING

  11     LITIGATED IN MEXICO?

  12                MR. HULETT:   THE QUESTION OF POSSESSION HAS ALREADY

  13     BEEN LITIGATED, AND THAT IS WHY YOUR HONOR DOESN'T HAVE TO MAKE

  14     ANY FINDINGS OF POSSESSION OR WHAT.       THE ORDERS OF FOREIGN

  15     JURISDICTION ARE ALREADY BINDING ON THE PARTIES.        THE ONLY

  16     THING THE TRIER OF FACT HERE IS GOING TO HAVE TO DECIDE ARE

  17     DAMAGES RESULTING FROM THAT TRESPASS.

  18                I THINK THE CASES THAT WE'VE CITED IN THE BRIEF TALK

  19     ABOUT THIS SORT OF THING WHEN THEY TALK ABOUT CONTRACTS AND

  20     NIGERIA, AND THEY TALK ABOUT PROPERTIES OUTSIDE THE UNITED

  21     STATES.    SO LONG AS THIS CASE IS NOT GOING TO HAVE TO INTERPRET

  22     THE RULES AND LAWS OF MEXICO IN DECIDING WHO THE PROPER

  23     POSSESSOR OR OWNER OF THE PROPERTY IS, THERE IS NO STATE OF ACT

  24     DOCTRINE THAT WOULD PROHIBIT THIS COURT FROM ADJUDICATING THE

  25     ISSUE OF DAMAGES RELATING TO THE TRESPASS.
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   1               THE COURT:   ALL RIGHT.    THERE'S PROBABLY MORE, BUT LET

   2     ME GET THAT BECAUSE I HAVE A FEELING MR. ZEBROWSKI IS GOING TO

   3     TELL ME THAT HE DOES NOT AGREE THAT THE ISSUE OF WHO OWNS THE

   4     LAND WAS DECIDED IN OCTOBER OF 2007 AND THAT WE DON'T HAVE TO

   5     FIND THAT LIABILITY FOR TRESPASS.

   6               MR. ZEBROWSKI:    YOUR HONOR, I WOULD EVEN SAY THAT

   7     PLAINTIFFS DON'T AGREE THAT THE ISSUE OF WHO OWNS THE LAND WAS

   8     DECIDED IN OCTOBER OF 2007.      IF YOU LOOK AT THE ALLEGATIONS OF

   9     THEIR SECOND AMENDED COMPLAINT, PARAGRAPHS 30 AND 31 BASICALLY

  10     RECITE THE IDEA THAT THERE WERE ACTIONS TAKEN IN 2007 -- LET ME

  11     STEP BACK.   COUNSEL SAYS, WE DON'T HAVE TO DECIDE THE VALIDITY

  12     OF A MEXICAN ORDER.

  13               A, I THINK WE DO, BUT MAYBE MORE IMPORTANT, AND THIS

  14     WOULD GO TO THE ACT OF STATE DOCTRINE, WE HAVE TO DECIDE WHAT

  15     MEXICAN LAW IS.    COUNSEL SAYS IF YOU GET THIS JUDGMENT,

  16     WHATEVER IT HAPPENED TO BE, WHENEVER YOU HAPPEN TO GET IT IN

  17     MEXICO, WHEN IS IT FINAL?     WHAT DOES IT MEAN?     DO YOU OR DO YOU

  18     NOT HAVE SELF-RIGHTS, ET CETERA?

  19               JUST BY WAY OF EXAMPLE, THERE IS THE ALLEGATION THAT

  20     THE MEXICAN POLICE WERE BRIBED.      IT'S MY UNDERSTANDING THAT TO

  21     GET EXECUTION IN MEXICO, YOU PAY A FEE AND THEN THE POLICE SHOW

  22     UP, BUT WHATEVER.    YOU WOULD HAVE TO GET INTO MEXICAN LAW.

  23               BUT GOING BACK TO THE ISSUE OF WHAT WAS HAPPENING IN

  24     MEXICO, JUST SIMPLY WHAT WAS HAPPENING, COUNSEL IN HIS SECOND

  25     AMENDED COMPLAINT, DOESN'T AGREE WITH HIS ARGUMENT.         IF WE READ
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   1     PARAGRAPH 31, IT SAYS IN 2009 BASED ON SEMPRA ENERGY'S FURTHER

   2     ABUSE OF PROCESS, ET CETERA, THE ATTORNEY GENERAL EXECUTED A

   3     SECOND CRIMINAL PROSECUTION.

   4               THEN WE GO ON TO PARAGRAPH 32.      ON MARCH 10TH, THE

   5     SUPERIOR COURT, WHICH I GUESS IS AN APPELLATE COURT DOWN THERE,

   6     AFFIRMED THE TRIAL COURT'S DISMISSAL, AND AGAIN FOUND ...

   7               AND THEN WE GO ON TO LINE 10.      ON MAY 24, 2010, THAT

   8     COURT ORDERED THE PROPERTY BE RESTORED WITHIN 24 HOURS, AND

   9     LINE 12 AND 13, IT WAS RESTORED THE NEXT DAY.

  10               SO WHAT REALLY HAPPENED DOWN THERE, WE DON'T KNOW.          WE

  11     DO KNOW WHAT'S ALLEGED TO HAVE HAPPENED DOWN THERE.         WHAT IS

  12     ALLEGED TO HAVE HAPPENED DOWN THERE IS NOT ONE BUT TWO

  13     PROSECUTIONS.    AND AT THE END OF THE SECOND PROSECUTION, AN

  14     ORDER OF POSSESSION WAS ISSUED, AND IT WAS EXECUTED AND

  15     POSSESSION WAS RESTORED.

  16               SO I DON'T THINK IT'S A MATTER OF NECESSARILY

  17     DISAGREEING WITH WHAT HAPPENED.      I THINK WHAT HAPPENED IS

  18     ALLEGED IN THE COMPLAINT.     AND IF WE LOOK AT CIVIL CODE SECTION

  19     47(B), IT DOESN'T SEEM LIKE THERE IS ANY DISPUTE AT ALL THAT

  20     SECTION 47(B) APPLIES TO EVERYTHING HERE EXCEPT FOR A MALICIOUS

  21     PROSECUTION CLAIM.    THEY'RE LEGALLY WITHIN THE SCOPE WHETHER

  22     THEY HAPPENED WITHIN OR WITHOUT THE UNITED STATES, WHETHER THEY

  23     HAPPENED IN COURT OR WITH A LAW ENFORCEMENT OFFICER OR AN

  24     ADMINISTRATIVE AGENCY GETTING PERMITS OR WHAT HAVE YOU.

  25               WHEN COUNSEL SAYS, WE DON'T HAVE TO WORRY ABOUT
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   1     WHETHER ANY OF STUFF IS VALID OR INVALID.       IF IT'S VALID, THERE

   2     IS NO LAWSUIT HERE.    SEMPRA DID EVERYTHING IT WAS SUPPOSED TO

   3     DO PURSUANT TO ITS LICENSES, AND THERE'S NO TRESPASS.

   4               SEMPRA HAD A JUDGMENT AGAINST MR. RITCHIE FOR A WHILE.

   5     SEMPRA RESTORED POSSESSION AFTER THE SECOND JUDGMENT.         SEMPRA

   6     IS LEGALLY OPERATING ITS FACILITY PURSUANT TO A PERMIT IT HAS.

   7               AND THEN WE HEAR THAT ALL THIS STUFF IS STILL BEING

   8     DUKED OUT IN MEXICO; YET THIS COURT IS SUPPOSED TO COME IN AND

   9     MAKE ASSUMPTIONS ABOUT WHAT WAS VALID AND WHAT PEOPLE'S RIGHTS

  10     WERE WHEN UNDER MEXICAN LAW IN MATTERS THAT ARE STILL BE

  11     CONTESTED.

  12               SO FIRST OF ALL, IT BUMPS US INTO THE CIVIL CODE

  13     PRIVILEGE.   I THINK ALL THIS IS PRIVILEGED.       TO ME, IT'S ALL

  14     COMMUNICATIVE ACTS.    BUT IN THE RUSHEEN CASE IT SAYS, CIVIL

  15     CODE PRIVILEGE ALSO APPLIES TO NONCOMMUNICATIVE ACTS IN

  16     FURTHERANCE OF A PRIVILEGED ACTION.       RUSHEEN HAPPENED TO BE A

  17     LAWSUIT, BUT THE CONCEPT APPLIES EQUALLY TO ACTS IN FURTHERANCE

  18     OF PETITIONING FOR A LICENSE OR A PERMIT OR A PROSECUTION OF

  19     SOMEONE AND THE LIKE.

  20               AND THEN WHEN I LOOK AT WHAT THIS LAWSUIT IS ABOUT, I

  21     DON'T KNOW WHAT WOULD BE LEFT.      IT COUNSEL WERE TO TRY TO AMEND

  22     HIS COMPLAINT CONSISTENT WITH THE CONCESSIONS HE'S MADE HERE

  23     THIS AFTERNOON, I DON'T KNOW WHAT'S LEFT BECAUSE THE

  24     FUNDAMENTAL ALLEGATIONS THAT I SEE ARE PARAGRAPHS 25, SEMPRA

  25     FILED A SHAM PURCHASE AGREEMENT WITH THE MEXICAN OFFICIALS TO
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   1     ILLEGALLY OBTAIN TITLE AND POSSESSION, SUBMITTED FALSE

   2     DOCUMENTS TO MEXICAN COURTS, FALSE TESTIMONY AT TRIAL, FALSE

   3     REPORTS TO THE ATTORNEY GENERAL AND THE POLICE TO GET THIS

   4     GENTLEMAN PROSECUTED, FRAUDULENTLY CONCEALED INFORMATION FROM

   5     THE COURTS, ET CETERA, BRIBED POLICE OFFICERS.        THERE IS

   6     NOTHING IN THIS CASE WITHOUT THOSE ALLEGATIONS, AND SO I DON'T

   7     SEE WHAT'S LEFT OTHER THAN PRIVILEGED INFORMATION.

   8               THE CHACON CASE, I THINK, DEMONSTRATES EXACTLY WHY

   9     THIS CASE IS WITHIN THE PRIVILEGE.       IN CHACON, SOMEBODY HAD THE

  10     JUDGMENT FOR TEMPORARY POSSESSION, TRIED TO USE IT FOR

  11     PERMANENT POSSESSION THEREAFTER.      NEVER HAD THE JUDGMENT FOR

  12     PERMANENT POSSESSION.

  13               SEMPRA HAD, FIRST OF ALL, CONTESTED POSSESSION AND

  14     OWNERSHIP, THEN IT HAD THE JUDGMENT EVICTING MR. RITCHIE FROM

  15     THE PREMISES.    AND THEN, AFTER THAT, MR. RITCHIE GOT A JUDGMENT

  16     IN HIS FAVOR, AFFIRMED ON APPEAL, POSSESSION WAS RESTORED.          TWO

  17     DIFFERENT PROCEEDINGS, TWO DIFFERENT ORDERS.        EACH GOT CARRIED

  18     OUT ACCORDING TO THEIR FINAL RESULT.

  19               THE COMMENTS YOUR HONOR STARTED WITH, THE -- WITH THE

  20     CIVIL CODE PRIVILEGE, BUT I THINK THEY TRICKLED OVER OR MAYBE

  21     POURED OVER INTO THE ACT OF STATE DOCTRINE.        AND WHEN I LOOKED

  22     AT ACT OF STATE, I DON'T KNOW IF WE COULD FIND ONE MUCH MORE

  23     WITHIN THE ACT OF STATE THAN THAT CASE.       THE KIRKPATRICK CASE

  24     THAT BOTH OF US CITED SAYS THIS ON PAGE 406 "ACT OF STATE

  25     ISSUES ARISE WHEN THE OUTCOME OF THE CASE TURNS UPON THE EFFECT
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   1     OF OFFICIAL ACTIONS BY A FOREIGN SOVEREIGN."        THAT'S ON PAGE

   2     406.

   3               AND IN KIRKPATRICK, ACTUALLY THE HOLDING IN THAT CASE

   4     WAS THAT THOSE CLAIMS WERE BARRED BY THE ACT OF STATE DOCTRINE.

   5     WE HAVE ALREADY SEEN HERE THAT PLAINTIFF HIMSELF INITIATED AT

   6     LEAST SEVEN DIFFERENT LEGAL PROCEEDINGS IN DIFFERENT COURTS AND

   7     VENUES IN MEXICO.    HIS OPPOSITION TO THE RULE 11 MOTION STATES

   8     THAT THE VALIDITY OF THE OPERATING LICENSE CONTINUES TO BE

   9     LITIGATED IN MEXICO.

  10               THE DISPUTE OVER THE VALIDITY OF THE LICENSING PROCESS

  11     AND THE SCOPE OF OPERATIONS ARE THE SUBJECT OF ONGOING LEGAL

  12     AND LEGISLATIVE CONTESTS IN MEXICO.       THE ISSUE OF THE VALIDITY

  13     OF THE SETBACK AMENDMENT IS THE SUBJECT OF LEGISLATIVE

  14     INVESTIGATION BY MEXICO'S CONGRESS AND THE SUBJECT OF

  15     CONTINUING ONGOING LITIGATION AS TO THE VALIDITY AND SCOPE OF

  16     SEMPRA'S LICENSE.    AND HE SAYS, INVESTIGATION INTO SEMPRA'S

  17     SETBACK NEEDS ARE ONGOING IN MEXICO, AND LITIGATION IS ALSO

  18     PROCEEDING CONCERNING SEMPRA'S NEED OF MR. RITCHIE'S PROPERTY

  19     TO OPERATE.   ALL IN MEXICO, ALL IN MR. RITCHIE'S OPPOSITION TO

  20     OUR RULE 11 MOTION.    THAT'S WHERE IT BELONGS.

  21               THIS COURT IS NOT HERE TO SIT AS SOME KIND OF SECOND

  22     GUESS OR ALTERNATIVELY WAIT TO SEE IF SOMETHING HAPPENS IN

  23     MEXICO AND THEN TRY TO FIGURE IT OUT.       COUNSEL REFERRED TO THE

  24     IDEA, GOSH, ONCE I HAVE A JUDGMENT, THEN I HAVE A TRESPASS

  25     CLAIM UP HERE.    IT'S THE "UP HERE" THAT'S THE PROBLEM.       NOW WE
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   1     GET INTO THE LOCAL ACTION ISSUE WHICH A TRESPASS CLAIM BELONGS

   2     IN MEXICO.    THAT'S THE ONLY PLACE THIS CLAIM CAN BELONG.        IT

   3     CAN'T BE BROUGHT HERE.

   4                AND I LOOKED AT ANOTHER CASE THAT WE HAD REFERRED TO

   5     ACTUALLY IN OUR MALICIOUS PROSECUTION DISCUSSION.         IT HAPPENS

   6     TO TRICKLE OVER, AGAIN, POUR OVER INTO THE ACT OF STATE, THE

   7     NOCULA CASE DISMISSED THE MALICIOUS PROSECUTION CASE STEMMING

   8     FROM FOREIGN PROSECUTION BECAUSE IT SAID "THE DECISION OF A

   9     FOREIGN SOVEREIGN TO EXERCISE ITS POLICE POWER THROUGH THE

  10     ENFORCEMENT OF ITS CRIMINAL LAWS PLAINLY QUALIFY AS AN ACT OF

  11     STATE."

  12                SO THAT CASE WAS NOT SOMEONE COMING UP HERE AND

  13     SAYING, I WANT TO SUE UP HERE TO BE ACQUITTED, IT'S SAYING, I

  14     WANT TO SUE FOR MALICIOUS PROSECUTION BASED ON HAVING BEEN

  15     PROSECUTED IN A FOREIGN COUNTRY.      AND THE COURT SAID, YOU CAN'T

  16     DO THAT.    THAT INHERENTLY VIOLATES THE ACT OF STATE DOCTRINE

  17     BECAUSE YOU'RE CALLING INTO QUESTION HOW THAT COUNTRY EXERCISED

  18     ITS POLICE POWERS.

  19                SO TO ME, THESE ALL SORT OF COME TOGETHER INTO MASHED

  20     POTATOES, BECAUSE THE FUNDAMENTAL IDEA IS THIS CASE DOESN'T

  21     BELONG IN THIS UNITED STATES COURT.       AND THERE'S A VARIETY OF

  22     REASONS.    NO. 1, IT'S ENTIRELY BASED ON PRIVILEGED CONTACT

  23     UNDER THE CIVIL CODE.     THAT DOES NOT APPLY TO THE MALICIOUS

  24     PROSECUTION CLAIM.    THE ACT OF STATE DOES, NOERR-PENNINGTON

  25     DOES, THE LOCAL ACTION DOCTRINE DOES.
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   1               THE COURT:   THE CURRENT STATUS IS STATUS QUO AT THE

   2     MOMENT IS THAT THE PARCEL, IT'S 8238, IS THAT RIGHT, IT'S IN

   3     THE POSSESSION OF MR. RITCHIE?

   4               MR. ZEBROWSKI:    AS I UNDERSTAND, IT'S IN MR. RITCHIE'S

   5     POSSESSION RIGHT NOW, BUT I ALSO UNDERSTAND, AND I DON'T KNOW

   6     MEXICAN LAW, BUT I UNDERSTAND OWNERSHIP AND POSSESSION ARE TWO

   7     TOTALLY SEPARATE RIGHTS, AND OWNERSHIP IS STILL BEING LITIGATED

   8     AND CONTESTED.

   9               THE COURT:   BUT HE'S THERE.

  10               MR. ZEBROWSKI:    HE'S THERE IN LAW.     I DON'T THINK HE

  11     LIVES THERE.

  12               THE COURT:   AND THE PLANT IS OPERATING?

  13               MR. ZEBROWSKI:    YES.

  14               THE COURT:   OKAY.   AND IN READING THE COMPLAINT, IT

  15     LOOKS LIKE TO ME THAT AS OF OCTOBER 11TH, 2007, THERE WAS A

  16     HEARING THAT RESULTED IN A COURT FINDING THAT MR. RITCHIE OWNED

  17     AND POSSESSED THE PROPERTY, NOT SEMPRA.       BUT THERE WAS CLEARLY

  18     AN APPEAL, BECAUSE YOUR NEXT PARAGRAPH IS IN MARCH OF 2009, THE

  19     SUPERIOR COURT OF THE 10TH DISTRICT OF ENSENADA SUSTAINED THE

  20     TRIAL COURT'S FINDINGS.     SO WOULD THE FACT THAT THERE WAS A

  21     JUDGMENT IN HIS FAVOR BUT IT WAS APPEALED, IS IT FINAL THEN, OR

  22     IS IT APPEALED?    THEY WERE THERE.

  23               I MEAN, THIS IS WHERE I'M GETTING INTO THESE PROBLEMS.

  24     AM I GOING TO HAVE TO INTERPRET WHAT'S THE FINAL IF IT WAS ON

  25     APPEAL?   AND SO THEN IN 2009, THERE IS THIS APPELLATE ORDER AND
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   1     THEN SOMETHING ELSE HAPPENED AFTER THAT BECAUSE THERE ISN'T A

   2     FINAL ORDER UNTIL 2010 TO TELL SEMPRA TO GIVE THE PROPERTY BACK

   3     TO MR. RITCHIE.    SO IS THEIR CONTINUED POSSESSION DURING THE

   4     APPELLATE PROCESS AN ACT OF TRESPASS UNDER MEXICAN LAW?         IS

   5     THAT SOMETHING THIS COURT IS GOING TO BE ASKED AGAIN TO

   6     DETERMINE?

   7                MR. ZEBROWSKI:    YOUR HONOR, I DON'T KNOW HOW YOU CAN

   8     POSSIBLY MAINTAIN OR ADJUDICATE THESE CLAIMS WITHOUT MAKING

   9     THAT DETERMINATION.      WE HAVE CLAIMS.   TRESPASS IS OBVIOUSLY ONE

  10     OF THEM.    ANOTHER IS INTERFERENCE WITH CONTRACT OR PERSPECTIVE

  11     BUSINESS ADVANTAGE FOR THE ABILITY TO SELL.        ANOTHER ONE IS

  12     UNJUST ENRICHMENT BECAUSE WE WERE BENEFITING FROM SOMEHOW

  13     WRONGFULLY POSSESSING HIS LAND AS WE WERE OPERATING OUR PLANT

  14     EVEN THOUGH WE DIDN'T NEED THE LAND TO OPERATE THE PLANT.

  15                YOU HAVE TO FIGURE OUT WHAT POINT IN TIME, IF EVER,

  16     WAS SEMPRA UNLAWFULLY OCCUPYING THE LAND UNDER MEXICAN LAW,

  17     MEXICAN ENFORCEMENT RIGHTS, MEXICAN FINALITY.        AND THEN WITH

  18     THE SECOND PROSECUTION FOLLOWING ON THE FIRST.

  19                THE COURT:    THE CRIMINAL PROSECUTIONS I THINK ARE THE

  20     SUBJECT OF THE MALICIOUS PROSECUTION, AND WE'RE GOING TO TALK

  21     ABOUT THOSE SEPARATELY.

  22                BUT LET ME HEAR YOUR SIDE OF THIS.

  23                MR. HULETT:   THE PARADE OF HORRIBLES THAT ARE

  24     ATTEMPTED TO BE PORTRAYED HERE DON'T EXIST.        THIS COMPLAINT

  25     STATES A CAUSE OF ACTION FOR TRESPASS UNDER CALIFORNIA TRESPASS
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   1     LAW.   THERE IS NOTHING BEFORE YOUR HONOR ABOUT CONFLICT OF LAWS

   2     ISSUES OR WHICH LAW HAS TO BE INTERPRETED OR WHICH LAW DOESN'T

   3     HAVE TO BE INTERPRETED.     MAYBE SOME DAY THAT ISSUE IS BEFORE

   4     THE COURT.

   5               WHAT WE HAVE HERE IS A CLAIM FOR DAMAGES AGAINST A

   6     CALIFORNIA CORPORATION WHO UNLAWFULLY POSSESSED PROPERTY IN

   7     MEXICO.   AND THE ONLY QUESTION I THINK TODAY IS WHETHER OR NOT

   8     THAT POSSESSION WAS PRIVILEGED UNDER 47(B) OR WHETHER YOUR

   9     HONOR NECESSARILY WILL HAVE TO REINTERPRET AND POTENTIALLY

  10     CONFLICT WITH RULINGS OF THE MEXICAN COURT.        AND I THINK WE

  11     TRIED TO TELL YOU THAT WILL NEVER HAPPEN.

  12               THERE IS NOTHING ON THIS RECORD, AND THERE IS NOTHING

  13     WHEN WE TRIED THIS CASE THAT WILL REQUIRE YOU TO MAKE FINDINGS

  14     OF LAW THAT MEXICAN AUTHORITIES MISAPPLIED MEXICAN LAW OR THE

  15     JURY IS GOING TO HAVE TO APPLY WHETHER THERE WAS A TRESPASS OR

  16     THERE WASN'T A TRESPASS.     THOSE RULINGS ALREADY HAVE BEEN MADE.

  17     THOSE RULINGS HAVE ALREADY BEEN MADE.

  18               AND SO WE WILL BE SUBMITTING, JUST AS THEY SUBMITTED,

  19     THEY WILL BE SUBMITTING, JUST AS WE'LL BE SUBMITTING, JUST AS

  20     THEY HAVE SUBMITTED RULINGS FROM THE MEXICAN COURTS ASKING FOR

  21     JUDICIAL NOTICE OF THE FINDINGS AND THE CONCLUSIONS OF LAW AND

  22     FACT THAT WERE MADE BY THOSE JUDGMENTS.       AND WE ARE SEEKING TO

  23     ENFORCE THOSE JUDGMENTS.     THAT'S ALL.

  24               AND SO WHEN THE TRESPASS OCCURRED IS, I THINK, A FAIR

  25     QUESTION, AND THAT COULD BE A QUESTION OF FACT FOR THE JURY.
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   1     DID IT OCCUR IN 2006?     DID IT OCCUR IN 2007?     DID IT OCCUR IN

   2     2008, '9 OR '10?    OR WAS THERE EVER A TRESPASS?      WHAT WE AREN'T

   3     GOING TO HAVE TO DO IS INTERPRET MEXICAN LAW AND APPLY IT TO

   4     THE ACTIONS OF SEMPRA DOWN IN MEXICO.

   5               THE COURT:    I WISH I HAD YOUR CONFIDENCE THAT THAT'S

   6     TRUE.   I STILL HAVE THIS NAGGING CONCERN, AND I AM BUILDING ON

   7     WHAT JUDGE SAMMARTINO HAS LAID AS A FRAMEWORK HERE ON THE

   8     MOTION TO DISMISS WITH REGARD TO THE PRIVILEGE.        SHE DIDN'T

   9     EVEN GET INTO THE OTHER ISSUES RAISED BUT I THINK ARE

  10     SIGNIFICANT AS WELL, IF THE ACTS THAT WERE TAKEN AFTER THE

  11     ORDER IS ISSUED IN 2006, THAT GAVE SEMPRA OWNERSHIP OF THE LAND

  12     AND THEN THEY DID WHAT THEY DID TO GET PHYSICAL POSSESSION OF

  13     IT, AND THEN THAT WAS CHALLENGED AND REVERSED AND APPEALED, AND

  14     IT WASN'T AT LEAST DECIDED UNTIL 2010.       WHY AREN'T ALL THE ACTS

  15     THAT HAPPENED IN THE INTERIM ON BOTH SIDES A CONTINUING PART OF

  16     THE PRIVILEGE?

  17               I MEAN, EVERYONE IS ACTING ON JUDICIAL ORDERS, AND

  18     THOSE ORDERS ARE SORT OF STAYED PENDING THESE APPEALS.         SO THE

  19     ONLY ORDER I HAVE IS THE STARTING ORDER IN 2006 THAT SAYS IT'S

  20     THEIRS, SEMPRA'S, AND THEY CAN POSSESS IT.        AND THEN IT'S

  21     CHALLENGED, AND THE CHALLENGE IS APPEALED AND THE APPEAL IS

  22     LOST.   AND DON'T I HAVE TO SOMEHOW FIGURE OUT AGAIN FINALITY OF

  23     ORDERS?

  24               MR. HULETT:    NO, I DON'T THINK YOU HAVE TO.      SEMPRA

  25     TAKES THE RISK WHEN THEY OCCUPY PROPERTY.       WHEN THEY OCCUPY
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   1     PROPERTY, THEY TAKE THE RISK THAT THEY'RE DOING SO AGAINST THE

   2     OWNERSHIP INTEREST OF THE TRUE OWNER.       AND THE DAMAGES THAT

   3     ACCRUE AS A CONSEQUENCE OF THAT IS ALL THAT WE'RE SEEKING.

   4               WE DON'T HAVE TO PROVE -- THEY CAN ARGUE ALL DAY LONG

   5     AS A MATTER OF FACT THAT SOMEHOW THEY WERE PRIVILEGED TO OCCUPY

   6     THIS PROPERTY EVEN THOUGH A COURT TOLD THEM THEY WERE NOT THE

   7     LEGAL POSSESSOR.    REMEMBER THAT MY CLIENT WAS OUSTED PHYSICALLY

   8     FROM HIS PROPERTY WITH BRUTE FORCE ON A PROVISIONAL ORDER

   9     BEFORE APPEALS WERE TERMINATED, BEFORE THE ENTIRE PROCESS WAS--

  10     WE'RE IN A PRELIMINARY INJUNCTION PROCESS.

  11               NOW IF IT HAD TURNED OUT THAT MR. RITCHIE, IN FACT,

  12     HAD BEEN TRESPASSING ON SEMPRA'S LAND, HE WOULD HAVE HAD

  13     LIABILITIES FOR TRESPASS.     THAT'S THE SIMPLE FACT.      POSSESSION

  14     IN THIS CASE IS NOT 9/10THS OF THE LAW.       POSSESSION IN THIS

  15     CASE IS NOT 9/10TH OF THE LAW.      POSSESSION IN THIS CASE IS

  16     9/10THS OF DAMAGES.

  17               WHAT WE HAVE HERE IF THEY WERE NOT LEGALLY ENTITLED TO

  18     THAT PROPERTY, WHICH THE COURTS HAVE FOUND.        THEIR CONTINUED

  19     POSSESSION OF THE PROPERTY IS THEIR RISK, AND THEY HAVE TO PAY

  20     DAMAGES FOR IT.    THAT'S PRETTY MUCH, I THINK, THE LAW.

  21               THE COURT:    THE LAW WHERE?

  22               MR. HULETT:    IN CALIFORNIA.

  23               THE COURT:    BUT THIS ISN'T IN CALIFORNIA.

  24               MR. HULETT:    IF WE'RE GOING TO HAVE A CONFLICTS OF LAW

  25     ISSUE, I THINK WE CAN ADDRESS THAT.       THERE IS NOTHING ON THIS
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   1     RECORD THAT SUGGESTED THERE IS A CONFLICT OF LAW ISSUE HERE.

   2     AND IF --

   3               THE COURT:    REALLY?   BECAUSE I SEE A HUGE ONE.     I'M

   4     NOT GOING TO APPLY CALIFORNIA TRESPASS LAW TO A TRESPASS THAT

   5     TOOK PLACE IN MEXICO.     THAT DOESN'T MAKE ANY SENSE.

   6               MR. HULETT:    WE DON'T NEED TO.    THAT'S SORT OF THE

   7     POINT, WHICH IS, THE TRESPASS LAW HAS ALREADY BEEN ADJUDICATED.

   8     WE DON'T HAVE TO SAY WHETHER THAT'S A TRESPASS UNDER CALIFORNIA

   9     LAW.   WE ALREADY HAVE AN ADJUDICATION THAT WAS A TRESPASS.

  10               THE COURT:    THEY DON'T AGREE.

  11               MR. HULETT:    I'M SURE THEY WON'T.     I'M SURE IN FRONT

  12     OF THE JURY, THEY WON'T AGREE.      THEY'RE GOING TO SAY THAT --

  13               THE COURT:    SO WE'RE GOING TO HAVE THIS JURY DECIDE IF

  14     THEY TRESPASSED UNDER MEXICAN LAW?

  15               MR. HULETT:    NO.   WE'RE GOING TO ADVISE THE JURY, JUST

  16     LIKE WE DO IN ADVISING THEM ARIZONA LAWS APPLY TO CALIFORNIA

  17     CITIZENS AND ALL OF THOSE SORTS OF CONFLICT ISSUES.         WE'LL

  18     INSTRUCT THE JURY ON WHAT THE FINDINGS ARE, WHAT THE LAW IS,

  19     AND THEY'LL APPLY THE FACTS TO THE LAW, IF THAT'S WHERE WE GO.

  20               THE COURT:    JUST BECAUSE WE HAVE TRIED TO GET THROUGH

  21     AN AWFUL LOT OF MATERIAL, BUT I HAVE NOT LOCATED THE 2006

  22     ORDER.   DID THAT EVER GET SUBMITTED AS A DOCUMENT THAT WE COULD

  23     TAKE JUDICIAL NOTICE OF BECAUSE IT WENT TO BEING AN ORDER TO

  24     NOW BEING CHARACTERIZED AS A PROVISIONAL ORDER TO NOW BEING

  25     REFERRED TO AS AN INJUNCTION, WHICH ARE ALL COMPLETELY
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   1     DIFFERENT THINGS.    AND IF IT HASN'T BEEN SUBMITTED, IT HASN'T.

   2               MR. HULETT:    I DON'T WANT TO SUGGEST THAT I WAS TRYING

   3     TO INTERPRET PROVISIONAL ORDER IN ANY WAY.        I'M JUST SUGGESTING

   4     THAT'S WHAT THEY CALLED IT IN MEXICO IS A PROVISIONAL ORDER,

   5     AND MY INTERPRETATION OF THAT IS MORE AKIN TO THERE IS SOME

   6     EVIDENCE TO SUPPORT YOUR ALLEGATIONS, GO FORTH.        JUST LIKE

   7     THERE MIGHT BE A CRIMINAL ARREST, WE HAVEN'T CONVICTED THE

   8     DEFENDANT, BUT WE MAY HAVE ARRESTED HIM.

   9               THE COURT:    ALL RIGHT.

  10               MR. ZEBROWSKI:    YOUR HONOR, IN RESPONSE TO THAT

  11     QUESTION, WE HAVE NOT SUBMITTED ORDERS.       WE'VE SUBMITTED

  12     VARIOUS PLEADINGS AND CLAIMS TO SHOW WHAT WAS PENDING.          I FIND

  13     IT INTERESTING THAT THE ENTIRE DISCUSSION IS FOCUSED ON

  14     TRESPASS BECAUSE FUNDAMENTALLY WHAT I THINK THIS CASE IS ABOUT,

  15     AND THAT IS, ABSOLUTELY BARRED BY THE LOCAL ACTION DOCTRINE.

  16     IT WOULDN'T MATTER IF THIS LAND WAS IN ARIZONA OR NEVADA OR

  17     TENNESSEE.

  18               IT HAPPENS TO BE IN MEXICO, WHICH MAKES IT THAT MUCH

  19     MORE COMPLICATED, BUT IT'S NOT IN THE JURISDICTION OF THIS

  20     COURT, SO A TRESPASS CASE DOESN'T BELONG HERE.        YET THE

  21     DISCUSSION IS ALSO INFORMATIVE BECAUSE I, FRANKLY, GOT A LITTLE

  22     CONFUSED JUST TRYING TO UNDERSTAND THE ARGUMENT.

  23               THE COURT:    I'M SORRY.   DID I CONFUSE YOU?

  24               MR. ZEBROWSKI:    NOT BY THE COURT, BY COUNSEL BECAUSE

  25     IT'S A FINAL ORDER, BUT IT'S NOT A FINAL ORDER.        THERE'S
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   1     ALREADY BEEN DETERMINED THAT THERE HAS BEEN TRESPASS DOWN

   2     THERE, WE'RE JUST HERE TO ENFORCE A JUDGMENT.        THIS ISN'T AN

   3     ACTION TO ENFORCE A MEXICAN JUDGMENT.       THIS IS AN ACTION FROM

   4     SCRATCH TO TRY TO GET THE UNITED STATES JUDGMENT FROM A U.S.

   5     JURY FOR TRESPASS ON MEXICAN LAND.

   6               AND THEN WE HEAR, POSSESSION HAS ALREADY BEEN

   7     DETERMINED, NO, BUT IT WAS SORT OF AN INTERIM ORDER, WHICH

   8     AGAIN, LET'S SET ASIDE THE FACT THAT IT'S TRESPASS, SO IT'S

   9     BARRED BY LOCAL ACT.     IT CLEARLY GETS US INTO THE ACT OF STATE

  10     DOCTRINE BECAUSE WE HAVE TO FIGURE OUT, WHAT DID MEXICO DO,

  11     WHAT IT DID MEAN UNDER MEXICAN LAW, AND HOW ARE WE GOING TO

  12     INTERPRET AND APPLY IT UP HERE.      AND IS IT GOING TO BE

  13     CONSISTENT WITH WHAT MEXICAN LAW IS AND WHAT THE MEXICAN

  14     AUTHORITIES ARE DOING IN MATTERS THAT ARE CONTINUING DOWN

  15     THERE.

  16               AND I DON'T KNOW HOW TRESPASS COULD HAVE BEEN

  17     DETERMINED AT ANY POINT, AT LEAST PRIOR TO THE DATE IN 2010

  18     WHEN MY CLIENT VACATED, BECAUSE THAT'S WHEN THE FINAL JUDGMENT

  19     WAS AFFIRMED DOWN THERE.     SO I DON'T KNOW MEXICAN LAW, BUT I

  20     THINK IN AMERICAN LAW, IF SOMEONE SUES ME TO GET ME OFF MY OWN

  21     PROPERTY AND THEY HAPPEN TO WIN IN TRIAL COURT AND I APPEAL AND

  22     I WIN, I HAVEN'T BEEN TRESPASSING, I WAS ENTITLED TO STAY

  23     THERE.   IF THEY WIN AND I LOSE AND I LEAVE, I HAVEN'T

  24     TRESPASSING, I WAS ENTITLED TO BE THERE.       IT WAS BEING

  25     ADJUDICATED.    AND AT THE END OF THE ADJUDICATION, SEMPRA LEFT.
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   1               SO I JUST FIND INTERESTING THE TRESPASS IS A PARADIGM,

   2     BECAUSE TO ME, THAT'S THE VERY EASIEST ONE.        NO. 1, IT IS

   3     PRIVILEGED UNDER THE CIVIL CODE; NO. 2, WE HAVE AN ACT OF STATE

   4     PROBLEM THAT IS JUST BLATANT; AND NO. 3, YOU HAVE A LOCAL

   5     ACTION ISSUE.    AND, OF COURSE, A VERY RELATED ISSUE IS

   6     NOERR-PENNINGTON.    I THINK IT JUST FALLS INTO ALL OF THEM.

   7               THE OTHER PROBLEM YOU HAVE IS, DEPENDING WHEN WE ARE

   8     ALLEGED TO HAVE TRESPASSED, IT'S PROBABLY DARK BY THE STATUTE

   9     OF LIMITATIONS.    IF YOU GO BACK TO 2007, THEN THE CASE IS TIME

  10     BARRED.   SO IT'S A GOOD LITTLE PARADIGM BECAUSE IT REALLY DOES

  11     RAISE ALL OF THE ISSUES, AND THEY APPLY EQUALLY TO ALL OF THE

  12     CLAIMS BECAUSE THE CAUSES OF ACTION ARE JUST VARIATION ON A

  13     THEME.

  14               YOU WENT INTO MEXICO, YOU DID THINGS IN MEXICAN

  15     COURTS, MEXICAN LEGISLATURES, MEXICAN ADMINISTRATIVE AGENCIES

  16     AND PERMITTING AGENCIES THAT CAUSED YOU TO GET A PERMIT AND

  17     CAUSED ME TO GET PROSECUTED AND CAUSED YOU TO BE ON MY LAND IN

  18     MEXICO.   AND I'M GOING TO COME UP HERE AND CLAIM THAT THOSE

  19     THINGS WERE WRONG WHILE THEY'RE STILL PENDING IN MEXICO, AND

  20     I'M GOING ON SUE YOU FOR DAMAGES.

  21               THE COURT:    OKAY.   I'D LIKE TO MOVE ON THEN.     WAS

  22     THERE SOMETHING ELSE YOU WANTED TO ADD?

  23               MR. HULETT:    JUST TWO THINGS.    THE LOCAL ACTION RULE

  24     WE'VE BRIEFED, AND WE'VE CITED CASES THAT IF YOU'RE NOT

  25     INTERPRETING THE PROPRIETY OF THE OWNERSHIP, WHO OWNS THE
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   1     PROPERTY, THE LOCAL ACTION DOCTRINE DOES NOT APPLY.         IT'S ONLY

   2     IF WE WERE ASKING YOU TO DETERMINE WHO THE RIGHTFUL OWNERS WERE

   3     IN MEXICO.    AND WE'RE NOT DOING THAT.

   4               AS TO THE THREE-YEAR STATUTE LIMITATION ON THE

   5     TRESPASS, THE ORDER THAT YOU REFERRED TO WAS OCTOBER OF 2007,

   6     AND THIS CASE WAS FILED IN JULY OF 2010, WHICH WAS LESS THAN

   7     THREE YEARS.

   8               MR. ZEBROWSKI:    YOUR HONOR, MAY I BRIEFLY RESPOND?

   9     THE CASES THAT THEY CITED ARE OUTSIDE THE NINTH CIRCUIT WHERE

  10     LOCAL ACTION IN SOME JURISDICTIONS IS CONSIDERED TO BE A MATTER

  11     OF VENUE.    IN THE NINTH CIRCUIT, IT'S CONSIDERED TO BE A MATTER

  12     OF JURISDICTION.    SO THOSE CASES ARE ALL THE SAME.       HERE THERE

  13     IS SIMPLY NO JURISDICTION TO HEAR A TRESPASS CASE ON PROPERTY

  14     OUTSIDE OF THE STATE.

  15               THE COURT:   I'VE HAD A QUESTION FROM MY LAW CLERK,

  16     SO... AND SHE WANTS TO KNOW, AND I GUESS I WANT TO KNOW AS

  17     WELL, WHAT LAW WOULD APPLY TO DETERMINE WHETHER YOU'RE ALLOWED

  18     TO CONTINUE POSSESSION PENDING THE APPEAL, WHICH WAS

  19     FUNDAMENTALLY THE QUESTION THAT I WAS ASKING, WAS IN 2007, A

  20     COURT GRANTED POSSESSION TO MR. RITCHIE BUT IT WAS APPEALED AND

  21     THEY CONTINUED IN ON POSSESSION UNTIL ALL THE APPELLATE PROCESS

  22     WAS RESOLVED.    THAT'S NOT GOING TO BE SOMETHING THAT'S GOING TO

  23     BE DETERMINED BY FINALITY OF JUDGMENTS UNDER AMERICAN LAW OR

  24     NINTH CIRCUIT LAW OR THIS DISTRICT, BUT RATHER MEXICAN LAW,

  25     RIGHT?
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   1                MR. HULETT:    WELL, I HAVE TO ADMIT THAT I DON'T

   2     PROFESS TO BE AN EXPERT ON CONFLICT OF LAW AND CHOICES OF

   3     CONFLICT OF LAW, SO WITHOUT HAVING DONE THE RESEARCH, I

   4     CERTAINLY DON'T WANT TO MAKE AN ADMISSION OR STATEMENT THAT

   5     IT'S INCONSISTENT WITH WHAT THE STATE OF THE LAW IS.

   6                MY BELIEF IS THAT PRESENTLY WE HAVE A CLAIM UNDER

   7     CALIFORNIA LAW TO ASK FOR DAMAGES ARISING FROM ORDERS OF

   8     MEXICAN COURTS THAT FOUND MY CLIENT TO HAVE BEEN ENTITLED TO

   9     POSSESSION FROM AT LEAST OCTOBER OF 2007, AND DURING A

  10     THREE-YEAR PERIOD OF TIME, HE WAS NOT IN POSSESSION, PERIOD.

  11     AND WE'RE ASKING FOR DAMAGES FOR THE PERIOD OF TIME HE WAS

  12     DISPOSSESSED.    AND IF THE ISSUE -- IF THE ISSUE WANTS TO BE

  13     BRIEFED?

  14                THE COURT:    BUT WE WILL NEED TO ANSWER THE QUESTION

  15     BECAUSE IT IS IN THE SCOPE OF YOUR COMPLAINT THAT THE 2007

  16     ORDER WAS APPEALED AND WASN'T AFFIRMED UNTIL AT LEAST MARCH OF

  17     2009, SO CAN IT BE AN ACT OF TRESPASS?       MAYBE IT'S GETTING TO

  18     MERITS, BUT IT GETS TO MY QUESTIONS ABOUT WHOSE LAW IS GOING TO

  19     APPLY HERE, WHETHER THERE'S A JURISDICTIONAL ISSUE AND ALL THE

  20     OTHER CONFLICTS WE HAVE.      IF THEY REMAINED IN POSSESSION DURING

  21     THE PENDENCY OF THE APPEAL OF THE 2007 ORDER, IS THAT AN ACT OF

  22     TRESPASS?

  23                MR. HULETT:    YES.

  24                THE COURT:    NOT BECAUSE OF THE OUTCOME IN 2009, BUT

  25     BECAUSE THE LAW WOULD DICTATE THAT THE JUDGMENT IS REVERSED IS
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   1     FINAL IN 2007?

   2                MR. HULETT:   YES.

   3                THE COURT:    AND WHOSE LAW IS THAT?     BECAUSE THAT'S NOT

   4     OUR LAW.

   5                MR. HULETT:   WELL, IT'S NO LONGER A PRIVILEGED ACT

   6     ONCE YOU HAVE BEEN FOUND BY THE COURT, WHETHER YOU'RE ON APPEAL

   7     OR NOT ON APPEAL.    IT'S JUST IF WE'VE GOT A JUDGMENT HERE OR

   8     JURY VERDICT, WE WOULD BE ENTITLED TO BOND OR AN EXECUTE ON THE

   9     JUDGMENT, RIGHT?    SO JUST AS A FINDING THAT SEMPRA WAS

  10     UNLAWFULLY POSSESSING MY CLIENT'S PROPERTY, THEY TOOK THE RISK

  11     AND ASSUMED DAMAGE THAT AROSE AS A CONSEQUENCE OF THOSE

  12     FINDINGS.    IF THEY HAD GOT IT REVERSED, THEY WOULD BE OFF THE

  13     HOOK BECAUSE THEIR FINDINGS WILL BE, YOU'RE IN LAWFUL

  14     POSSESSION.

  15                BUT THE FACT THAT THEY UNLAWFULLY POSSESSED THE

  16     PROPERTY IS NOT DISPUTED.       IT'S A FINDING.    IT'S A FINDING OF

  17     THE COURTS IN MEXICO.     AND MR. ZEBROWSKI HAS SUGGESTED THAT

  18     THAT IS STILL CONTESTED.

  19                THAT'S NOT PART OF OUR COMPLAINT, AND I'M NOT SURE

  20     WHERE HE'S COMING UP WITH THESE EXTRA FACTS THAT ARE NOT

  21     PROPERLY BEFORE THE COURT.      AND IF THIS IS SOMETHING THAT IS A

  22     FACT THAT HE BELIEVES THAT SEMPRA CONTINUES TO DISPUTE

  23     POSSESSION OR OWNERSHIP, THAT MAY BE, BUT THAT'S A QUESTION OF

  24     FACT FOR SOME LATER PROCEEDINGS.      THAT'S NOT BEFORE THE COURT.

  25                THE COURT:    ALL RIGHT.   THANK YOU.
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   1               MR. ZEBROWSKI:    TWO THING, YOUR HONOR.     FIRST OF ALL,

   2     I READ CONFLICTS IN A NUTSHELL IN 1982 AND TOOK THE CLASS, SO

   3     THAT'S AS MUCH AS I REMEMBER.      BUT I CAN'T IMAGINE THAT THE

   4     QUESTION THE COURT POSED COULD POSSIBLY BE A QUESTION OF

   5     CALIFORNIA LAW IN THIS CASE.      IT HAS TO BE A QUESTION OF

   6     MEXICAN LAW.    T.

   7               HE ISSUE, AGAIN, WHICH SHOULD NOT BE IN THIS COURT,

   8     BUT THE LEGAL ISSUE IS WHETHER MY CLIENT WAS UNLAWFULLY IN

   9     POSSESSION OF THE PROPERTY IN MEXICO WHILE MEXICAN LEGAL

  10     PROCEEDINGS WERE PENDING.     TO ANSWER THAT QUESTION, WE NEED TO

  11     KNOW MEXICAN LAW CONCERNING THE RIGHT OF POSSESSION DURING THE

  12     PENDENCY OF THOSE PROCEEDINGS.

  13               SECOND, I THINK I'M HEARING COUNSEL SAY, WELL, GOSH IF

  14     YOU GET TO THE END AND, YOU LOSE.      WELL IN THAT CASE, YOUR

  15     ACTIONS DURING THE LITIGATION ARE NO LONGER PRIVILEGED, YOU

  16     WERE TAKING A RISK.    THAT'S NOT THE LAW.     IT DOESN'T MATTER WHO

  17     WINS OR LOSES IN THE END.     YOUR ACTIONS IN LITIGATION AND YOUR

  18     ACTIONS IN ADMINISTRATIVE PROCEEDINGS AND LEGISLATIVE

  19     PROCEEDINGS, AND YOU NAME IT ARE PRIVILEGED AT ALL TIMES

  20     WHETHER YOU WIN OR LOSE.

  21               AND WHETHER YOU WIN IN THE BEGINNING OR LOSE AT THE

  22     END, MAKES ABSOLUTELY NO DIFFERENCE.       SEMPRA'S ULTIMATE OUTCOME

  23     IN TURNING LAND OVER IN 2012 AT THE END OF THE LITIGATION

  24     DOESN'T MEAN THAT, THEREFORE, WHAT THEY DID IN THE LITIGATION

  25     IS ALL OF A SUDDEN ACTIONABLE.      THAT'S NOT THE LAW.     THAT'S
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   1     TURNING IT ON ITS HEAD.

   2               THE COURT:   ALL RIGHT.    I HAVE A LOT TO LOOK AT.

   3               I WANT TO TURN TO THE MALICIOUS PROSECUTION CLAIM

   4     BECAUSE THAT'S SEPARATE.     AND JUDGE SAMMARTINO HAD INITIALLY

   5     GRANTED THE MOTION TO DISMISS ON MALICIOUS PROSECUTION BECAUSE

   6     IT APPEARED FROM THE PLEADINGS AT THE FIRST AMENDED COMPLAINT

   7     THAT THERE WAS AN ACKNOWLEDGMENT AND CONVICTION AND, THEREFORE,

   8     SHE FOUND THAT IT COULDN'T BE MALICIOUS EVEN IF IT WAS

   9     OVERTURNED IN APPEAL.     THAT CHANGED ON THE THIRD AMENDED

  10     COMPLAINT.

  11               AND THE PLAINTIFF, HE WAS NOT, IN FACT, CONVICTED IN

  12     2007, AND SO THE ELEMENT AT ISSUE WOULD THEN BE WHETHER OR NOT

  13     THERE WAS PROBABLE CAUSE TO BRING THE ARREST WARRANT.         AND THE

  14     QUESTION I HAVE, AND I'LL ASK THE PLAINTIFF FIRST ON THIS, SO

  15     DOES THAT REQUIRE THAT THE DEFENDANT LACKED PROBABLE CAUSE, OR

  16     THAT THE PROSECUTION ITSELF LACKED PROBABLE CAUSE WHEN IT WAS

  17     INITIATED BY THE COURTS?

  18               AND I THINK THE DISTINCTION TO MY MIND, AND THIS IS --

  19     AGAIN, THIS IS NOT CLEAR AS MUD, THIS AREA, TO ME, BUT THE

  20     AUTHORITIES ACTED PRESUMABLY ON A COMPLAINT RAISED BY SEMPRA

  21     STATING CERTAIN FACTS TO THEM SAYING, AND, THEREFORE, WE'RE

  22     ASKING YOU TO BRING CRIMINAL PROSECUTION AGAINST THE PLAINTIFF.

  23     AND IF THOSE FACTS CONSTITUTED PROBABLE CAUSE, THEN IT CAN'T BE

  24     A MALICIOUS PROSECUTION IF THE FACTS WERE FALSE AND SEMPRA KNEW

  25     THEY WERE FALSE AND THERE ARE NO SET OF FACTS THAT COULD HAVE
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   1     SUPPORTED PROBABLE CAUSE THAT WERE TRUE, THEN THEY COULD BE

   2     LIABLE FOR MALICIOUS PROSECUTION, I THINK.        HELP ME.

   3               MR. HULETT:    I'M GOING TO TRY HELP YOU.     I DON'T THINK

   4     THE CONCEPT OF PROBABLE CAUSE, AS YOU'VE ASKED THE QUESTION, IS

   5     WHAT JUDGE SAMMARTINO WAS INTERPRETING.       I THINK WHAT THE CASE

   6     LAW SAYS IS THAT IF SOMEBODY IS CONVICTED OR THERE ARE

   7     FINDINGS, THEN THERE IS A PRESUMPTION OF PROBABLE CAUSE.

   8               SO IF, FOR EXAMPLE, MY CLIENT HAD BEEN ARRESTED,

   9     TRIED, AND CONVICTED OF THE CRIME OF POSSESSION OR TRESPASS,

  10     THAT, ACCORDING TO JUDGE SAMMARTINO'S RULINGS, WOULD IMMUNIZE

  11     SEMPRA FROM A MALICIOUS PROSECUTION CLAIM UNLESS WE WERE TO

  12     PROVE THE FRAUD EXCEPTION.

  13               THE COURT:    RIGHT.

  14               MR. HULETT:    OKAY.   IT DOESN'T ADDRESS THE QUESTION OF

  15     WHETHER OR NOT A POLICE OFFICER WOULD HAVE PROBABLE CAUSE TO

  16     MAKE AN ARREST.    THAT IS NOT THE PROBABLE CAUSE.      THAT IS

  17     IMPLICATED HERE ON THE PRESUMPTION.       THE PRESUMPTION IS IF

  18     SOMEBODY IS CONVICTED AFTER HAVING BEEN PROSECUTED OR, FOR

  19     EXAMPLE, EVEN IN A CIVIL CASE, IF ONE WERE TO LOSE A CLAIM

  20     BEFORE A JURY, THAT'S PRESUMPTIVELY PROBABLE CAUSE THAT THE

  21     CLAIM HAD VALIDITY TO IT, EVEN THOUGH SUBSEQUENTLY, IT WAS

  22     REVERSED ON APPEAL.     AND THAT'S THE KIND OF THING WE'RE TALKING

  23     ABOUT.   IF YOU PREVAIL AT A FINAL ADJUDICATION, THEN PROBABLE

  24     CAUSE COULD BE PRESUMED.

  25               HERE, THERE'S NEVER BEEN A FINAL ADJUDICATION AGAINST
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   1     MR. RITCHIE IN ANY FORM, AND THAT IS THE FUNDAMENTAL CHANGE IN

   2     THE ALLEGATIONS FROM THE MISINTERPRETED ACTIONS ORIGINALLY.          HE

   3     WAS NEVER CONVICTED, AND SO THERE WAS NO PRESUMPTION OF

   4     PROBABLE CAUSE BASED ON THE ORIGINAL ALLEGATIONS THAT HE HAD

   5     BEEN CONVICTED.    SO THAT'S ONE CHANGE.

   6               AND THEN EVEN IF, EVEN IF THERE WERE PROBABLE CAUSE,

   7     WE BELIEVE THAT THAT PRESUMPTION IS OVERCOME BY THE ALLEGATIONS

   8     THAT ARE PLED IN THE COMPLAINT OF SEMPRA'S CONTINUED COURSE OF

   9     CONDUCT AND FALSIFYING RECORDS, PROVIDING FALSE TESTIMONY, AND

  10     WITHHOLDING MATERIAL EVIDENCE FROM THE COURTS.        AND THE COURT,

  11     JUDGE SAMMARTINO, SHE SUGGESTED IN HER ORDER THAT MR. RITCHIE

  12     HAD PRESENTED ALL OF THE FACTS THAT WE NEED NOW PLEAD, HAD

  13     PRESENTED ALL THOSE FACTS TO THE COURTS IN MEXICO.         AND

  14     ACCORDINGLY, THAT ADJUDICATION COULD NOT BE THE BASIS FOR A

  15     MALICIOUS PROSECUTION CLAIM AS WE SET FORTH IN OUR AMENDED

  16     COMPLAINT.

  17               THERE ARE TWO FACTS THAT MR. RITCHIE DID NOT KNOW BUT

  18     SEMPRA DID KNOW AT THE TIME SEMPRA WAS PROVIDING INFORMATION TO

  19     THE GOVERNMENT TO TRY TO HAVE MR. RITCHIE PROSECUTED, AND

  20     BECAUSE THOSE FACTS WERE NOT KNOWN TO MR. RITCHIE, THEY WERE

  21     NOT PRESENTED IN HIS DEFENSE, AS JUDGE SAMMARTINO BELIEVED,

  22     ERRONEOUSLY SO, THAT HAD BEEN PRESENTED.

  23               THE COURT:   AND THAT'S THE ATTEMPT IN 2001 FOR THAT

  24     THIRD-PARTY GROUP TO ESTABLISH OWNERSHIP OF THE PROPERTY THAT

  25     WAS DENIED, AND THEN AT THE TIME OF THE PURCHASE, THAT ONE OF
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   1     THOSE MEMBERS OF THAT GROUP ACTUALLY WAS DECEASED AND SO THE

   2     POWER OF ATTORNEY WAS EXPIRED --

   3               MR. HULETT:    PRECISELY.

   4               THE COURT:    -- AND SO NO SALE COULD BE MADE ON BEHALF

   5     OF GROUP.

   6               MR. HULETT:    CORRECT.   AND SO THOSE FACTS WERE NOT

   7     PRESENTED BY MR. RITCHIE IN HIS DEFENSE BACK IN 2006 AND,

   8     THEREFORE, COULDN'T HAVE BEEN THE BASIS FOR DENIAL OF THE

   9     MALICIOUS PROSECUTION CLAIM.

  10               THE COURT:    AND YOU'VE ALLEGED THAT SEMPRA WAS AWARE

  11     OF BOTH OF THOSE FACTS WHEN THEY ASKED FOR THE CRIMINAL

  12     PROSECUTION OF MR. RITCHIE.

  13               MR. HULETT:    RIGHT.   AND WE'VE ALSO PRESENTED, I

  14     THINK, SOME COMPELLING INFORMATION THAT THE TWO KEY

  15     INVESTIGATORS IN MEXICO SAID THAT HAD THEY BEEN PRESENTED WITH

  16     THIS INFORMATION THAT WE ALLEGE SEMPRA HAD, THAT NOTHING

  17     FURTHER WOULD HAVE BEEN DONE AGAINST MR. RITCHIE.

  18               THE COURT:    OKAY.   I NEED TO UNDERSTAND HOW -- THE

  19     ALLEGATION ABOUT THE 2009 PROSECUTION ARE REALLY BARE BONES,

  20     AND I DON'T EVEN UNDERSTAND WHAT HAPPENED IN 2009, BUT LET ME

  21     LET MR. ZEBROWSKI RESPOND FIRST TO THIS QUESTION.

  22               MR. ZEBROWSKI:    YES, THANK YOU, YOUR HONOR.      A FEW

  23     BULLET POINTS, IF YOU WILL, ON MALICIOUS PROSECUTION.         FIRST, I

  24     GO BACK TO KIRKPATRICK ON THE ACT OF STATE.        IT SAYS "ACT OF

  25     STATE ISSUES ARISE WHEN THE OUTCOME OF THE CASE TURNS UPON THE
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   1     EFFECT OF OFFICIAL ACTION BY A FOREIGN SOVEREIGN."

   2               THAT'S, BY WAY OF BACKGROUND, FOR THE CASE CALLED

   3     NOCULA V. UGS CORPORATION, WHICH WE CITED.        IT'S 520 F.3D 719.

   4     THERE IT WAS A CIVIL CASE AGAINST A CIVIL DEFENDANT ALLEGING

   5     MALICIOUS PROSECUTION, AND IT WAS DISMISSED BECAUSE THE

   6     DECISION OF A FOREIGN SOVEREIGN TO EXERCISE ITS POLICE POWER

   7     THROUGH THE ENFORCEMENT OF ITS CRIMINAL LAWS CLEARLY QUALIFY AS

   8     AN ACT OF STATE.    AND THAT'S WHAT WE HAVE HERE.

   9               IN ORDER TO COME HERE AND ADJUDICATE WHETHER THERE WAS

  10     A MALICIOUS PROSECUTION BY THE CALIFORNIA ATTORNEY GENERAL ONE

  11     OR TWO TIMES, ONE WOULD NECESSARILY BE INVADING THE TURF OF THE

  12     ACT OF STATE DOCTRINE.     SO WHEN YOU PUT THE KIRKPATRICK CASE,

  13     AND THAT FOLLOWS A WHOLE LINE OF UNITED STATES SUPREME COURT

  14     CASES, THEN YOU APPLY THAT DIRECTLY IN A CIVIL MALICIOUS

  15     PROSECUTION CASE BASED ON A FOREIGN MALICIOUS PROSECUTION,

  16     THAT'S NOCULA, THE CASE IS DISMISSED.       SO THAT'S NO. 1.

  17               NO. 2, AND I SHOULD SAY TOO, JUDGE SAMMARTINO NEVER

  18     GOT TO THESE ISSUES.     WE BRIEFED THEM, BUT BECAUSE OF THE

  19     RULING ON THE CIVIL CODE PRIVILEGE, WE NEVER GOT TO ACT OF

  20     STATE AND THE LIKE.

  21               SO ONE PROBLEM WITH THE MALICIOUS PROSECUTION CASE IS

  22     IT'S BARRED UNDER THE ACT OF STATE DOCTRINE.        THE SECOND

  23     PROBLEM IS IT'S BARRED UNDER THE NOERR-PENNINGTON DOCTRINE.

  24     NOERR-PENNINGTON IS VERY MUCH AKIN TO THE CIVIL CODE PRIVILEGE,

  25     EXCEPT IT DOES NOT HAVE AN EXCEPTION FOR MALICIOUS PROSECUTION
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   1     CASES.   AND SO WHAT WE HAVE HERE IS ALLEGATIONS THAT WE WENT

   2     DOWN AS SEMPRA AND SAID THINGS OR DID THINGS TO MEXICAN

   3     PROSECUTORS TO CAUSE THEM TO INSTITUTE CRIMINAL PROSECUTION.

   4     THOSE ACTIONS ARE PRIVILEGED UNDER THE NOERR-PENNINGTON

   5     DOCTRINE AND CANNOT BE THE BASIS FOR CIVIL LIABILITY.

   6               THE COURT:   EVEN IF THE STATEMENTS WERE KNOWINGLY

   7     FALSE?

   8               MR. ZEBROWSKI:    ABSOLUTELY.    AND I CAN CITE SOME OF

   9     THE CASES FROM OUR NOERR-PENNINGTON BRIEFING, BUT THAT'S

  10     ABSOLUTELY CORRECT.    EVEN THE NOERR-PENNINGTON CASES GO SO FAR

  11     AS TO SAY BRIBERY IS NOT ACTIONABLE WHEN IT'S DONE FOR THE

  12     PURPOSE OF PETITIONING THE GOVERNMENT TO GET SOMETHING.

  13               THEN THE LAST ONE IS A CASE THAT WAS DECIDED, I THINK

  14     THAT WAS DECIDED AFTER THE BRIEFING WAS DONE ON THIS MOTION.

  15     IT'S CALLED ROBERTS V. MCAFEE.      IT'S A NINTH CIRCUIT CASE CITED

  16     NOVEMBER 7TH OF 2011.     AND THERE, THEY SAID EVEN A DEFENDANT

  17     WHO FABRICATES EVIDENCE STILL ACTS WITH PROBABLE CAUSE IF THE

  18     DEFENDANT IS AWARE OF OTHER EVIDENCE WHICH WOULD MAKE IT

  19     OBJECTIVELY REASONABLE TO SUSPECT THE PLAINTIFF'S GUILT.

  20               AND SO THE MERE FACT, EVEN IF YOU ASSUME THE

  21     CORRECTNESS OF THESE ALLEGATIONS, WE MUST HEAR THAT FALSE

  22     EVIDENCE WAS PRESENTED TO A MEXICAN PROSECUTOR, THAT DOES NOT

  23     EQUAL MALICIOUS PROSECUTION ON ITS FACE.

  24               BUT MORE IMPORTANT REALLY IS THE IDEA THAT THIS

  25     MALICIOUS PROSECUTION CLAIM BASED ON PETITIONING THE MEXICAN
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   1     GOVERNMENT IS BARRED UNDER THE NOERR-PENNINGTON DOCTRINE, AND

   2     IN THE FACT THIS HAPPENED IN MEXICO, IT'S ALSO BARRED UNDER THE

   3     ACT OF STATE DOCTRINE.

   4               THE COURT:    ALL RIGHT.    THANK YOU.

   5               MR. HULETT, ANY RESPONSE TO THAT, AND THEN WOULD YOU

   6     PLEASE EXPLAIN THE WHAT HAPPENED IN 2009.

   7               MR. HULETT:    WHAT HAPPENED IN 2009 FROM -- AGAIN,

   8     WE'RE GOING BY THE ALLEGATIONS IN THE COMPLAINT, BUT OBVIOUSLY

   9     THERE IS ADDITIONAL INFORMATION THAT I DON'T WANT TO MISSTATE

  10     IT OR UNDERSTATE IT OR OVERSTATE IT, BUT MY UNDERSTANDING IS,

  11     SEMPRA WAS NOT CONTENT TO ABIDE BY THE ADJUDICATIONS OF THE

  12     COURT'S FINDING MR. RITCHIE WAS IN LAWFUL POSSESSION, THAT HE

  13     WAS NOT A CRIMINAL TRESPASSER, NOT A CRIMINAL IN ANY WAY,

  14     SHAPE, OR FORM, WASN'T HAPPY WITH THAT VERDICT AND WENT FORUM

  15     SHOPPING ESSENTIALLY AND LOOKED FOR OTHERS WITHIN THE

  16     GOVERNMENT OF MEXICO TO TAKE UP THEIR CAUSE AGAINST

  17     MR. RITCHIE, WHO WAS OBVIOUSLY WINNING HIS RIGHTS BACK TO

  18     POSSESSION, AND IN AN EFFORT THAT WE ALLEGE TO DISABUSE HIM OF

  19     HIS RIGHTS, SOUGHT A CRIMINAL PROSECUTION.

  20               IN MEXICO, IT'S A BIT DIFFERENT THAN HERE.        ONE

  21     INITIATES A CRIMINAL PROSECUTION BY YOUR OWN DECLARATIONS, AND

  22     THAT'S APPARENTLY WHAT HAPPENED.       THAT PROSECUTION NEVER

  23     MATERIALIZED IN ANY REAL FORM.       MR. RITCHIE DID HAVE TO DEFEND

  24     HIMSELF WHEN ARRESTED, APPARENTLY IN RELATION TO THESE CHARGES,

  25     BUT WAS EXONERATED WITHOUT MUCH FURTHER ADO AFTER PRESENTING
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   1     THE EVIDENCE OF PRIOR ORDERS OF THE COURTS.

   2               BUT THAT'S WHAT I BELIEVE HAPPENED IN 2009.        IT WAS

   3     JUST ANOTHER INSTANCE OF SEMPRA ATTEMPTING TO HARASS AND ANNOY

   4     MR. RITCHIE WHO WAS OBVIOUSLY MAKING HEADWAY AGAINST THEIR

   5     CASE.

   6               WITH RESPECT TO THE MALICIOUS PROSECUTION CLAIM, WE

   7     DON'T HAVE TO INTERPRET ANYTHING.      THEY SPECIFICALLY EXCLUDE IT

   8     UNDER 47(B).    IT'S NOT A PRIVILEGED ACT.

   9               THE COURT:    AND THEY'RE NOT ARGUING IT IS.      I'M

  10     JUST -- IN 2007 IT'S MY UNDERSTANDING, BASED ON THE PRIOR

  11     COMPLAINTS, THERE WAS AN ACTUAL PROSECUTION, THERE'S TRIAL, A

  12     LOT OF STUFF HAPPENED.     IN 2009, THERE WAS A COMPLAINT SWORN

  13     OUT, BUT THERE WAS NO ACTUAL PROSECUTION, THERE WAS NO -- OR

  14     WAS THERE?

  15               MR. HULETT:    I BELIEVE THERE WAS A HEARING.

  16               THE COURT:    THERE WAS A HEARING.

  17               MR. HULETT:    WHERE EVIDENCE WAS PRESENTED.

  18               THE COURT:    OKAY.

  19               MR. HULETT:    AND FROM THE WAY IT'S BEEN PRESENTED TO

  20     ME, IT WAS MORE OF A SUMMARY PROCEEDING WITH THE PRESENTATION

  21     TO THE COURT OF THE PRIOR JUDGMENTS OF THE COURT SAYING MR.

  22     RITCHIE WAS LAWFULLY IN POSSESSION, AND WITH THOSE JUDGMENTS,

  23     IF YOU WILL, THOSE FINDINGS, THE TRIAL COURT WAS NOT TOO

  24     IMPRESSED WITH SEMPRA'S RENEWED ACTIVITIES BASED ON THE SAME

  25     FALSE ACCUSATIONS, AND SUMMARILY DISMISSED THE CHARGES.
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   1               THE COURT:    ALMOST AKIN WHO TO WHAT WE WOULD HAVE

   2     HERE, A PRELIMINARY HEARING WHERE YOU LOOK AT THE EVIDENCE

   3     SUBMITTED.   I HATE TO GO BACK TO THE WORDS "FOR PROBABLE

   4     CAUSE," BUT NO BASIS TO GO FORWARD WITH CRIMINAL ACTION.

   5               MR. HULETT:    THAT'S MY UNDERSTANDING.

   6               THE COURT:    ALL RIGHT.

   7               MR. ZEBROWSKI:    MAY I BRIEFLY ADDRESS?

   8               THE COURT:    YES, YOU MAY.

   9               MR. ZEBROWSKI:    I DON'T KNOW THE MEXICAN SYSTEM, I

  10     DON'T KNOW THE AMERICAN CRIMINAL SYSTEM, BUT I DON'T THINK HERE

  11     YOU CAN APPEAL FROM A PRELIMINARY HEARING AS A DETERMINATION

  12     NOT TO PROSECUTE.    THERE WAS AN APPEAL DOWN THERE.       IT WENT

  13     DOWN FOR ANOTHER YEAR AND A HALF OR SO.

  14               THE COURT:    ON THE 2009?

  15               MR. ZEBROWSKI:    YES.   IF YOU LOOK AT PARAGRAPH 31 OF

  16     THE COMPLAINT AND GOING OVER INTO PARAGRAPH 32 OF THE SECOND

  17     AMENDED COMPLAINT, PARAGRAPH 31 SAYS "LATER IN 2009, THE

  18     ATTORNEY GENERAL INSTITUTED A SECOND CRIMINAL PROSECUTION."

  19               THE COURT:    UM-HMM.

  20               MR. ZEBROWSKI:    ON THE BOTTOM OF LINE 28, THERE IT

  21     SAYS "THE TRIAL COURT REJECTED."       AT THE TOP OF 11, IT SAYS

  22     "SEMPRA CAUSED AN APPEAL OF THAT RULING."       AND THEN PARAGRAPH

  23     32 SAYS IN MARCH OF 2010, IT WAS AFFIRMED.        AND THEN YOU READ

  24     ON TO MAY 24, THE ORDERS ISSUED MAY 25, THE PROPERTY IS

  25     RETURNED FOLLOWING THAT APPEAL.      SO I DON'T KNOW THE NATURE OF
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   1     THE PROCEEDING DOWN THERE, BUT I JUST POINT OUT THAT THERE WAS

   2     AN APPEAL THAT STRETCHED OUT.

   3               THE COURT:   ALL RIGHT.

   4               MR. ZEBROWSKI:    THE ONLY OTHER THING, YOUR HONOR, IS

   5     IF ANY PART OF THIS CASE SURVIVES TODAY IN THE MOTION TO

   6     DISMISS, WE HAVEN'T TALKED ABOUT THE MOTION TO SEAL.         I WOULD

   7     JUST ASK THE COURT CONSIDER RELEASING ANYTHING THAT WAS

   8     SUBMITTED THAT IS NOT, IN FACT, SUBJECT TO WORK PRODUCT

   9     PRIVILEGE IF THIS CASE GOES FORWARD, SO I KNOW WHERE THE FILING

  10     IS.

  11               THE COURT:   THANK YOU.    LET'S GO BACK TO WHAT MY

  12     ORIGINAL QUESTION WAS, BECAUSE WE WENT ALL THE WAY AROUND IT ON

  13     THE MALICIOUS PROSECUTION ISSUE, THE QUESTION OF WHETHER THE

  14     PLAINTIFF HAS TO PLEAD THE ELEMENT OF THE LACK OF PROBABLE

  15     CAUSE THAT THE DEFENDANT LACKED IT OR THAT THE PROSECUTION

  16     LACKED IT.

  17               MR. ZEBROWSKI:    YOU KNOW, IT'S INTERESTING BECAUSE THE

  18     NOCULA CASE BASICALLY SAYS, AS I UNDERSTAND IT, YOU NEED TO

  19     PROVE THAT THERE WAS A LACK OF PROBABLE CAUSE FOR THE

  20     PROSECUTION BY THE ATTORNEY GENERAL, BECAUSE NOCULA SAYS THAT

  21     IS AN ACT OF STATE PROBLEM.      SO IT'S NOT A MATTER OF PUTTING

  22     THIS DEFENDANT ON THE WITNESS STAND UP HERE AND SAYING, WHAT

  23     DID YOU THINK?    BECAUSE IT'S NOT A CIVIL CASE.      IT'S NOT

  24     MALICIOUS PROSECUTION OF A CIVIL CASE.

  25               IT IS MALICIOUS PROSECUTION OF A CRIMINAL CASE BY A
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   1     MEXICAN PROSECUTOR, AND THE QUESTION IS, WHY DID THAT PERSON DO

   2     THAT, WHAT INFORMATION DID THAT PERSON HAVE TO RELY ON.         IT'S

   3     ALLEGED THAT HE RELIED ON SEMPRA.       WE DON'T KNOW WHAT HE

   4     ACTUALLY RELIED ON AND WHAT HE ACTUALLY KNEW, SO THAT STARTS TO

   5     ACTIVATE THE ROBERTS V. MCAFEE ISSUE ON MALICIOUS PROSECUTION

   6     ALONE.

   7               BUT MORE IMPORTANT, IT BUMPS STRAIGHT INTO THE ACT OF

   8     STATE DOCTRINE UNDER THIS NOCULA V. UGS COURT, BECAUSE THERE

   9     WAS A CIVIL CASE AGAINST THE CIVIL COMPLAINANT IN THE

  10     UNDERLYING CRIMINAL MATTER, AND THEY SAID, WELL, WAIT A MINUTE,

  11     TO ADJUDICATE THIS CRIMINAL MALICIOUS PROSECUTION CASE IN A

  12     FOREIGN COUNTRY, WE'RE GOING TO HAVE TO LOOK AT WHAT THAT

  13     PROSECUTOR HAD IN MIND, AND WE CAN'T DO THAT UNDER THE ACT OF

  14     STATE DOCTRINE.

  15               THE COURT:    THANK YOU.

  16               DO YOU HAVE ANYTHING YOU WANT TO ADD?

  17               MR. HULETT:    I APOLOGIZE FOR NOT ANSWERING YOUR

  18     QUESTION DIRECTLY.     IT'S IF THE PROBABLE CAUSE ISSUE -- WHETHER

  19     OR NOT DEFENDANT IN A MALICIOUS PROSECUTION CLAIM HAD PROBABLE

  20     CAUSE TO MAKE THE ACCUSATIONS THAT IT MADE, IT'S NOT WHETHER

  21     THE GOVERNMENT HAD PROBABLE CAUSE TO MAKE AN ARREST FOR

  22     PROBABLE CAUSE TO DO ANYTHING.       IF THE DEFENDANT SEMPRA MAKES

  23     WILDLY INACCURATE ACCUSATIONS THAT LATER PROVE TO BE NOT TRUE,

  24     THEY CAN RELY UPON A PROBABLE CAUSE DOCTRINE TO SAY, WE HAD

  25     PROBABLE CAUSE TO MAKE THE ALLEGATIONS IF THERE WAS AN
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   1     ADJUDICATION OF SOME SORT IN THEIR FAVOR.       AND THAT'S WHAT THE

   2     PROBABLE CAUSE STATES, AND THAT THEY HAVEN'T BEEN ABLE TO

   3     SUSTAIN.

   4                THE COURT:    ALL RIGHT.   THANK YOU.   ON THE MOTION TO

   5     SEAL, THE COURT REVIEWED THE DOCUMENTS, AND IN LIGHT OF BOTH

   6     THE CONTENT OF THE COMPLAINT AND THE CONTENT OF THE ACTUAL

   7     MOTION PAPERS SUBMITTED BY THE PLAINTIFF IN OPPOSITION TO THE

   8     RULE 11 SANCTIONS, I'VE LOOKED AT THE CONTENT OF WHAT YOU'VE

   9     ASKED TO THE COURT CONSIDER IN CAMERA, AND THERE DOESN'T APPEAR

  10     TO BE WORK PRODUCT THERE, AND THE BULK OF THE ACTUAL

  11     SIGNIFICANT PORTIONS OF IT ARE DISCLOSED IN BOTH YOUR PAPERS

  12     AND IN THE PLEADINGS, AND, THEREFORE, THE COURT WILL DENY THE

  13     MOTION TO SEAL AND REQUEST THAT THOSE MATERIALS BE MADE

  14     AVAILABLE TO THE DEFENDANTS.

  15                MR. HULETT:    I RESPECT THAT DECISION.    I'M NOT GOING

  16     TO ARGUE ABOUT THAT, BUT THERE ARE STATEMENTS MADE IN MY

  17     DECLARATION THAT WERE COMMUNICATED TO ME DIRECTLY FROM MY

  18     CLIENT AND FROM WITNESSES THAT WERE NOT PART OF THE DOCUMENTS

  19     SUBMITTED.

  20                THE COURT:    WELL, YOU'VE ALLUDED TO THEM BOTH HERE IN

  21     COURT NOW AND RELIED ON THEM IN YOUR OPPOSITION THAT THE

  22     DECLARATION REGARDING THE COMMENTS MADE THAT THE STATEMENTS

  23     THAT WERE TAKEN UNDER OATH BY THE MEXICAN OFFICIALS SAYING THEY

  24     WOULD NOT GO FORWARD HAD THEY KNOWN, AND THAT'S THE BASIS OF

  25     IT.   SO IF YOU WANT TO PRODUCE THAT.      IF THERE'S OTHER PARTS OF
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   1     THAT THAT YOU THINK WERE NOT DISCLOSED, YOU CAN REDACT THOSE.

   2               MR. HULETT:    I UNDERSTAND THERE'S A PARAGRAPH

   3     SPECIFICALLY WHERE MY CLIENT TELLS ME WHAT HAPPENED IN A

   4     PARTICULAR MEETING WHERE SEMPRA OFFICIALS TELL HIM HOW MUCH

   5     THEY NEED THE PROPERTY AND WHATNOT.       AND, YOU KNOW, OBVIOUSLY

   6     WHEN HIS DEPOSITION IS TAKEN IN THIS CASE, HE'LL BE OBLIGATED

   7     TO TESTIFY ABOUT THOSE MATTERS.      BUT AS IT STANDS NOW, YOU

   8     KNOW, AND THE RULE 11 MOTION, WHICH HAS BEEN DENIED, CLEARLY IT

   9     IS SUBTERFUGE TO FIND OUT WHAT WE KNOW AND WHAT KIND OF

  10     INVESTIGATION WE'VE COMPLETED AND WHAT KIND OF THINGS MY CLIENT

  11     MAY OR MAY NOT KNOW THAT SEMPRA ALREADY KNOWS BUT THEY DIDN'T

  12     KNOW THAT WE KNEW.     AND WE HAVEN'T BEEN ABLE TO GET ANY

  13     DISCOVERY.   AND THAT'S ALL SEMPRA WAS TRYING TO DO BY THIS RULE

  14     11 MOTION.

  15               AND FOR THAT REASON AND FOR THE REASONS SET FORTH IN

  16     RULE 11, WHICH SPECIFICALLY PROVIDE FOR A AN IN CAMERA

  17     INSPECTION TO BE IN LIEU OF.      SO PRODUCING THE EXHIBITS, I

  18     WOULD NOT OBJECT TO, BUT PRODUCING TO THEM THE INTERVIEW NOTES

  19     AS WELL AS COMMENTARY FROM MY CLIENT, I DO OBJECT TO.

  20               THE COURT:    YOU GAVE ME A DECLARATION THAT ATTACHES

  21     SIX EXHIBITS.

  22               MR. HULETT:    CORRECT.

  23               THE COURT:    AND NONE OF THESE EXHIBITS, WITH POSSIBLY

  24     THE EXCEPTION OF THE INTERVIEW, ARE WORK PRODUCT.         THEY'RE --

  25               MR. HULETT:    I AGREE.
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   1               THE COURT:    -- JUST DOCUMENTS.

   2               MR. HULETT:    I AGREE.

   3               THE COURT:    AND THEY'RE PUBLICLY AVAILABLE DOCUMENTS.

   4     AND, IN FACT, MOST OF THEM ARE SEMPRA'S DOCUMENTS.         AND YOU

   5     HAVE ASKED THE COURT TO CONSIDER AND RELY ON THEM, AND I THINK

   6     SEMPRA IS ENTITLED TO KNOW SINCE IT'S NOT YOUR WORK PRODUCT,

   7     YOUR CONCLUSIONS, THOUGHTS, AND STRATEGY, THEIR OWN DOCUMENTS

   8     THAT YOU ASK THE COURT TO CONSIDER.       SO AT LEAST WITH REGARD TO

   9     EXHIBIT A, B, C, D, WHICH WAS YOUR LETTER TO MR. ZEBROWSKI, AND

  10     F, THOSE DOCUMENTS SHOULD ALL BE PRODUCED TO SEMPRA.

  11               NOW WITH REGARD TO E, WHICH WAS THAT TRANSCRIPT, YOU

  12     CAN PRODUCE JUST THE SECTION HIGHLIGHTED FOR THE COURT TO

  13     CONSIDER, BECAUSE I DIDN'T READ THE WHOLE THING, I READ THE

  14     HIGHLIGHTED SECTIONS.     AND IF THERE IS SOMETHING ELSE IN THERE

  15     THAT GOES TO YOUR ASSESSMENTS OF THE CASE AND STRATEGY AND,

  16     THAT IS, AN INTERVIEW THAT WAS DONE THAT WOULD STILL

  17     CONSTITUTE, I THINK AT THIS POINT IN TIME, WORK PRODUCT, THEN

  18     YOU CAN JUST GIVE THEM THE HIGHLIGHTED SECTION ON EXHIBIT E,

  19     AND THEN YOU'LL HAVE EVERYTHING THE COURT CONSIDERED.

  20               MR. ZEBROWSKI:    YES, YOUR HONOR.    WITH RESPECT TO THE

  21     DECLARATION, I WOULD LIKE TO HAVE THAT.       I DON'T MIND IF THE

  22     PARAGRAPH THAT RECITES WHAT COUNSEL WAS TOLD BY HIS CLIENT IS

  23     REDACTED, BUT I WOULD LIKE TO HAVE THE REST OF THE DECLARATION.

  24               THE COURT:    YOU'LL GET IT WHEN YOU DO YOUR RULE 26

  25     DISCLOSURE.   YOU HAVEN'T DONE THEM YET.      BUT MEANWHILE, YOU'LL
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   1     JUST GET THE PART THE COURT CONSIDERED.

   2                MR. ZEBROWSKI:   THANK YOU.

   3                THE COURT:    OKAY.   THE MOTION FOR SANCTIONS IS DENIED.

   4                THE MOTION FOR PUTTING THE DOCUMENTS UNDER SEAL IS

   5     DENIED WITH THE EXCEPTION OF EXHIBIT E, WHICH IS TO BE PRODUCED

   6     PARTIALLY.

   7                AND THE MOTION TO DISMISS IS UNDER SUBMISSION, AND WE

   8     HOPE TO GET YOUR DECISION SHORTLY.       THANK YOU.

   9                MR. HULETT:   THANK YOU SO MUCH, YOUR HONOR, FOR YOUR

  10     TIME.

  11                MR. ZEBROWSKI:   THANK YOU.

  12           (COURT IN RECESS AT 3:44 P.M.)

  13     ***    END OF REQUESTED TRANSCRIPT ***

  14                                      -OOO-

  15                          C E R T I F I C A T I O N

  16              I HEREBY CERTIFY THAT I AM A DULY APPOINTED, QUALIFIED
         AND ACTING OFFICIAL COURT REPORTER FOR THE UNITED STATES
  17     DISTRICT COURT; THAT THE FOREGOING IS A TRUE AND CORRECT
         TRANSCRIPT OF THE PROCEEDINGS HAD IN THE AFOREMENTIONED CAUSE
  18     ON MARCH 16, 2012; THAT SAID TRANSCRIPT IS A TRUE AND CORRECT
         TRANSCRIPTION OF MY STENOGRAPHIC NOTES; AND THAT THE FORMAT
  19     USED HEREIN COMPLIES WITH THE RULES AND REQUIREMENTS OF THE
         UNITED STATES JUDICIAL CONFERENCE.
  20     DATE: JULY 15, 2014, AT SAN DIEGO, CALIFORNIA.

  21                                           S/MAURALEE A. RAMIREZ

  22                                            MAURALEE A. RAMIREZ
                                                OFFICIAL COURT REPORTER
  23                                            RPR, CSR NO. 11674

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